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                                    UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF VIRGINIA
                                           RICHMOND DIVISION

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                                                              :
 In re                                                        :           Chapter 11
                                                              :
 CHINOS HOLDINGS, INC., et al.,                               :           Case No. 20–32181 (KLP)
                                                              :
                                                   1
                                        Debtors.              :           (Jointly Administered)
                                                              :
 ------------------------------------------------------------ x

         JOINT PREARRANGED CHAPTER 11 PLAN OF REORGANIZATION OF CHINOS
        HOLDINGS, INC. AND ITS AFFILIATED DEBTORS (WITH TECHNICAL CHANGES)


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     Dated: June 24, 2020
            Richmond, Virginia




 1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
       Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
       Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
       International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
       (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
       Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
       headquarters and service address is 225 Liberty St., New York, NY 10281.




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                 Chinos Holdings, Inc.; Chinos Intermediate Holdings A, Inc.; Chinos Intermediate, Inc.;
 Chinos Intermediate Holdings B, Inc.; J. Crew Group, Inc.; J. Crew Operating Corp.; Grace Holmes, Inc.;
 H.F.D. No. 55, Inc.; J. Crew Inc.; J. Crew International, Inc.; J. Crew Virginia, Inc.; Madewell Inc.; J. Crew
 Brand Holdings, LLC; J. Crew Brand Intermediate, LLC; J. Crew Brand, LLC; J. Crew Brand Corp.;
 J. Crew Domestic Brand, LLC; and J. Crew International Brand, LLC, as debtors and debtors in possession
 (each, a “Debtor” and, collectively, the “Debtors”), propose the following joint chapter 11 plan of
 reorganization pursuant to section 1121(a) of title 11 of the United States Code.

                ARTICLE I            DEFINITIONS, INTERPRETATION AND CONSENTS.

           A.        Definitions. The following terms shall have the respective meanings specified below:

         1.1     ABL Agent means Bank of America, N.A., in its capacity as administrative and collateral
 agent for the ABL Lenders.

          1.2    ABL Credit Agreement means the Credit Agreement, dated March 7, 2011, as amended,
 restated, amended and restated, modified, or supplemented from time to time through the Petition Date.

       1.3           ABL Facility means that certain asset-based lending facility pursuant to the ABL Credit
 Agreement.

          1.4      ABL Facility Claims means all “Obligations,” as defined in the ABL Credit Agreement,
 as of the Effective Date, including any accrued but unpaid interest, costs, fees, issued and outstanding letters
 of credit, cash management obligations, guarantees and indemnities.

           1.5     ABL Facility Documents means the ABL Credit Agreement and all other agreements,
 documents, and instruments delivered or entered into in connection therewith, including any guarantee
 agreements, pledge and collateral agreements, intercreditor agreements, subordination agreements, fee
 letters, and other security documents.

         1.6     ABL Lenders means the “Secured Parties” as defined in the ABL Credit Agreement and
 any other Entity that becomes a “Secured Party” under the ABL Facility from time to time in accordance
 with the ABL Credit Agreement, each in their capacity as such.

          1.7     Ad Hoc Committee means the ad hoc committee composed of certain holders of Term
 Loan Claims, IPCo Notes Claims, Existing Holdings Preferred Equity, and Existing Holdings Equity, each
 in their capacity as such, represented by PJT Partners LP, Milbank LLP, and Tavenner & Beran, PLC.

         1.8     Ad Hoc Committee Fees means, collectively, to the extent not previously paid, all
 outstanding, reasonable and documented fees and expenses of any professional retained on behalf of the
 Ad Hoc Committee (whether incurred directly or on their behalf and regardless of whether such fees and
 expenses are incurred before or after the Petition Date), including PJT Partners LP, Milbank LLP, and
 Tavenner & Beran, PLC.

         1.9      Administrative Expense Bar Date means the date that is 60 days after the Effective Date,
 which will be the deadline by which parties seeking payment of Administrative Expense Claims must file
 a motion seeking Allowance of such claim, submit a proof of claim, or otherwise request in writing payment
 of such claims from the Debtors or Reorganized Debtors.




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         1.10     Administrative Expense Claim means any Claim for costs or expenses of administration
 of any of the Chapter 11 Cases incurred after the Petition Date and through the Effective Date under sections
 503(b), 507(a)(2), and 507(b) of the Bankruptcy Code that have not already been paid by the Debtors,
 including (a) any actual and necessary costs and expenses of preserving the Estates, (b) any actual and
 necessary costs and expenses of operating the Debtors’ businesses, (c) any indebtedness or obligations
 incurred or assumed by the Debtors during the Chapter 11 Cases, including for the acquisition or lease of
 property or an interest in property or the performance of services, and (d) any compensation and
 reimbursement of expenses to the extent allowed under sections 330 or 503 of the Bankruptcy Code.

           1.11      Affiliates has the meaning set forth in section 101(2) of the Bankruptcy Code.

          1.12    Allowed means, with reference to any Claim or Interest, a Claim or Interest (a) arising on
 or before the Effective Date as to which (i) no objection to allowance or priority, and no request for
 estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or otherwise,
 has been interposed and not withdrawn within the applicable period fixed by the Plan or applicable law, or
 (ii) any objection or dispute has been determined in favor of the holder of the Claim or Interest by a Final
 Order, (b) that is compromised, settled, or otherwise resolved pursuant to the authority of the Debtors or
 the Reorganized Debtors, (d) that is included in the Schedules, but is not listed as unliquidated, contingent,
 or disputed; (e) as to which the liability of the Debtors or the Reorganized Debtors, as applicable, and the
 amount thereof are determined by a Final Order of a court of competent jurisdiction, (f) is not Disputed, or
 (g) is expressly allowed under the Plan; provided, that notwithstanding the foregoing, (x) unless expressly
 waived by the Plan, the Allowed amount of Claims or Interests shall be subject to and shall not exceed the
 limitations or maximum amounts permitted by the Bankruptcy Code, including sections 502 or 503 of the
 Bankruptcy Code, to the extent applicable, and (y) the Reorganized Debtors shall retain all claims and
 defenses with respect to Allowed Claims that are Reinstated or otherwise Unimpaired pursuant to the Plan.

         1.13    Assumption Dispute means an objection or dispute relating to assumption of an Executory
 Contract or Unexpired Lease pursuant to section 365 of the Bankruptcy Code, including to any Cure
 Obligation or adequate assurance of future performance under an Executory Contract or Unexpired Lease
 to be assumed, which objection or dispute has been timely filed or interposed in accordance with the Plan
 and applicable law and has not been withdrawn or determined by a Final Order.

          1.14    Avoidance Action means any action commenced, or that may be commenced, before or
 after the Effective Date pursuant to chapter 5 of the Bankruptcy Code including sections 544, 545, 547,
 548, 549, 550, or 551.

        1.15    Backstop Commitment Letter means the backstop commitment letter dated May 3, 2020,
 as amended from time to time, executed by the Backstop Parties, providing for, among other things, the
 DIP Obligations and the New Term Loans.

       1.16   Backstop Parties means the “Backstop Term Lenders” as defined in the Backstop
 Commitment Letter, each in their capacity as such.

         1.17     Backstop Premium means a fee in an amount equal to $40,000,000, which will be paid
 on the Effective Date to the Backstop Parties in accordance with the Backstop Commitment Letter in the
 form of New Common Shares, which shares will be subject to dilution by New Common Shares issuable
 upon exercise of the New Warrants, issued pursuant to the Management Incentive Plan, and otherwise
 issued after the Effective Date.

         1.18     Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. § 101, et seq., as
 now in effect or hereafter amended from time to time, as applicable to the Chapter 11 Cases.


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         1.19    Bankruptcy Court means the United States Bankruptcy Court for the Eastern District of
 Virginia having subject matter jurisdiction over the Chapter 11 Cases and, to the extent of any reference
 withdrawal made under section 157(d) of title 28 of the United States Code, the District Court having
 subject matter jurisdiction over the Chapter 11 Cases under section 157 of title 28 of the United States
 Code.

         1.20    Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as promulgated by
 the United States Supreme Court under section 2075 of title 28 of the United States Code and any Local
 Bankruptcy Rules of the Bankruptcy Court, in each case, as amended from time to time and applicable to
 the Chapter 11 Cases.

         1.21     Benefit Plans means (a) each “employee benefit plan,” as defined in section 3(3) of the
 Employee Retirement Income Security Act of 1974, as amended, and (b) any other pension, retirement,
 bonus, incentive, health, life, disability, group insurance, vacation, holiday and fringe benefit plan, program,
 contract, or arrangement (whether written or unwritten) maintained, contributed to, or required to be
 contributed to, by the Debtors for the benefit of any of its current or former employees or independent
 contractors, other than those that entitle employees to, or that otherwise give rise to, Interests, or
 consideration based on the value of Interests, in the Debtors, which shall be assumed by the Debtors on the
 Effective Date.

           1.22    Causes of Action means any and all actions, proceedings, causes of action, controversies,
 liabilities, obligations, rights, rights of setoff, recoupment rights, suits, damages, judgments, accounts,
 defenses, offsets, powers, privileges, licenses, franchises, claims, Avoidance Actions, counterclaims, cross-
 claims, affirmative defenses, and demands of any kind or character whatsoever, whether known or
 unknown, asserted or unasserted, reduced to judgment or otherwise, liquidated or unliquidated, fixed or
 contingent, matured or unmatured, disputed or undisputed, secured or unsecured, or assertable directly or
 derivatively, existing or hereafter arising, in contract or in tort, in law, in equity, or otherwise, whether
 arising under the Bankruptcy Code or any applicable nonbankruptcy law, based in whole or in part upon
 any act or omission or other event occurring before the Petition Date or during the course of the Chapter 11
 Cases, including through the Effective Date. Without limiting the generality of the foregoing, when
 referring to Causes of Action of the Debtors or their Estates, Causes of Action shall include (a) all rights of
 setoff, counterclaim, or recoupment and claims on contracts or for breaches of duties imposed by law or
 equity, (b) claims (including Avoidance Actions) pursuant to section 362, and chapter 5 of the Bankruptcy
 Code including sections 510, 542, 543, 544 through 550, or 553, and (c) claims and defenses such as fraud,
 mistake, duress, usury, and any other defenses set forth in section 558 of the Bankruptcy Code.

        1.23   Chapter 11 Cases means the jointly administered cases under chapter 11 of the
 Bankruptcy Code commenced by the Debtors on the Petition Date in the Bankruptcy Court and styled In re
 Chinos Holdings, Inc., et al., Ch. 11 Case No. 20-32181 (KLP) (Jointly Administered).

         1.24     Chinos Holdings means Chinos Holdings, Inc., as debtor or debtor in possession, as the
 context requires.

           1.25      Claim has the meaning set forth in section 101(5) of the Bankruptcy Code, as against any
 Debtor.

          1.26   Class means a category of holders of Claims or Interests as set forth in Article III pursuant
 to section 1122(a) of the Bankruptcy Code.

        1.27    Collateral means any asset of the Estates that is subject to a Lien securing the payment or
 performance of a Claim to the extent provided by section 506 of the Bankruptcy Code, which Lien is valid,


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 perfected and enforceable, and has not been avoided under the Bankruptcy Code or applicable
 nonbankruptcy law.

        1.28    Confirmation Date means the date on which the Bankruptcy Court enters the
 Confirmation Order within the meaning of Bankruptcy Rules 5003 and 9021.

        1.29     Confirmation Hearing means the hearing to be held by the Bankruptcy Court to consider
 confirmation of the Plan, as such hearing may be adjourned or continued from time to time.

        1.30      Confirmation Order means the order of the Bankruptcy Court confirming the Plan
 pursuant to section 1129 of the Bankruptcy Code.

       1.31          Consenting Support Parties has the meaning set forth in the Transaction Support
 Agreement.

           1.32      Creditor has the meaning set forth in section 101(10) of the Bankruptcy Code.

         1.33    Creditors’ Committee means the statutory committee of unsecured creditors appointed in
 these Chapter 11 Cases.

          1.34    Cure Obligation means the amount of cash or other property the Debtors must distribute
 (as the parties may agree or the Bankruptcy Court may order), as necessary, to (a) cure a monetary default
 by the applicable Debtor under an Executory Contract or Unexpired Lease as required by section 365(b)(1)
 of the Bankruptcy Code , and (b) permit the applicable Debtor to assume or assume and assign such
 Executory Contract or Unexpired Lease under section 365(a) of the Bankruptcy Code.

           1.35      Definitive Documents has the meaning set forth in the Transaction Support Agreement.

         1.36     DIP Agent means Wilmington Savings Fund Society, FSB in its capacity as administrative
 and collateral agent under the DIP Loan Documents.

         1.37    DIP Claims means all Claims arising under or related to the DIP Loan Documents,
 including any accrued but unpaid interest, costs, fees, guarantees and indemnities.

         1.38   DIP Credit Agreement means the postpetition credit agreement among the Debtors and
 the DIP Lenders as approved by the DIP Order.

        1.39    DIP Facility means the debtor-in-possession financing used to fund the operations of the
 Debtors during the pendency of these Chapter 11 Cases under the terms set forth in the DIP Loan
 Documents.

         1.40    DIP Lenders means the lenders party under the DIP Credit Agreement and any other
 Entity that becomes a lender under the DIP Facility from time to time in accordance with the DIP Credit
 Agreement, each in their capacity as such.

         1.41    DIP Loan Documents means, collectively, the DIP Credit Agreement and all other
 agreements, documents, and instruments delivered or entered into in connection therewith, including any
 guarantee agreements, pledge and collateral agreements, intercreditor agreements, subordination
 agreements, fee letters, and other security documents.

           1.42      DIP Obligations has the meaning set forth in the DIP Order.


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           1.43      DIP Order means the Interim DIP Order or the Final DIP Order, as applicable.

         1.44     Disallowed means, with respect to any Claim or Interest, that such Claim or Interest (a) has
 been determined by a Final Order or specified in a provision of the Plan not to be Allowed, (b) has been
 agreed to by the holder of such Claim or Interest and the applicable Debtor to be equal to $0 or to be
 expunged, (c) is listed in the Schedules as zero or as contingent, disputed, or unliquidated and as to which
 no proof of claim has been timely filed or deemed timely filed pursuant to either the Bankruptcy Code, any
 Final Order of the Bankruptcy Court or otherwise, (d) is not listed in the Schedules and as to which no proof
 of claim has been timely filed or deemed timely filed pursuant to either the Bankruptcy Code, any Final
 Order of the Bankruptcy Court, or otherwise.

       1.45     Disclosure Statement means the disclosure statement in respect of the Plan, as may be
 amended from time to time as approved by the Bankruptcy Court.

         1.46    Disputed means, with respect to a Claim or Interest, that (a) such Claim or Interest is
 neither Allowed nor Disallowed, nor deemed Allowed under sections 502, 503, or 1111 of the Bankruptcy
 Code or (b) the Debtors or any party in interest has interposed a timely objection or request for estimation,
 and such objection or request for estimation has not been withdrawn or determined by a Final Order. If the
 Debtors dispute only a portion of a Claim, such Claim shall be deemed Allowed in the amount the Debtors
 do not dispute and Disputed as to the balance of such Claim.

         1.47     Distribution Agent means any Entity in its capacity as a distribution agent under Article
 VI of the Plan (including a Reorganized Debtor that acts in such capacity).

         1.48   Distribution Record Date means, except as otherwise provided in the Plan or designated
 by the Bankruptcy Court, the Effective Date.

         1.49   DTC means the Depository Trust Company, a limited-purpose trust company organized
 under the New York State Banking Law.

         1.50     Effective Date means the date after entry of the Confirmation Order on which all
 conditions to the effectiveness of the Plan set forth in Article IX of the Plan have been satisfied or waived
 in accordance with the terms of the Plan.

          1.51    Eligible Holder means the IPCo Noteholders and Term Lenders that are qualified
 institutional buyers or accredited institutional investors eligible to participate in the DIP Facility and the
 New Term Loan.

       1.52    Employee Arrangements means all employee compensation plans, Benefit Plans,
 employment agreements, offer letters, or award letters to which any Debtor is a party.

          1.53    Entity means an individual, corporation, partnership, limited partnership, limited liability
 company, association, joint stock company, joint venture, estate, trust, unincorporated organization,
 governmental unit (as defined in section 101(27) of the Bankruptcy Code) or any political subdivision
 thereof, person (as defined in section 101(41) of the Bankruptcy Code), or other entity (as defined in section
 101(15) of the Bankruptcy Code.

           1.54      Estates means the estates of the Debtors created under section 541 of the Bankruptcy Code.

           1.55      Exchange Act means the Securities Exchange Act of 1934, as amended.



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         1.56      Exculpated Parties means, collectively and, in each case, in their capacities as such, (i) the
 Debtors, (ii) the Reorganized Debtors, (iii) the Creditors’ Committee, (iv) the Consenting Support Parties,
 (v) the ABL Agent and the ABL Lenders, (vi) the Term Agent and the Term Lenders, (vi) the Indenture
 Trustees and the IPCo Noteholders, (vii) the Backstop Parties, (viii) the DIP Lenders, (ix) the DIP Agent,
 (x) the New Term Lenders, (xi) the New Term Agent, (xii) the Sponsors, and (xiii) the Related Parties for
 each of the foregoing.

          1.57     Executory Contract means a contract to which one or more of the Debtors is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

        1.58     Existing Holdings Equity means all Interests in Chino’s Holdings, Inc. as of the Petition
 Date except for Existing Holdings Preferred Equity.

         1.59    Existing Holdings Preferred Equity means the Series A Preferred Stock and Series B
 Preferred Stock, each issued by Chinos Holdings.

          1.60     Exit ABL Agent means the administrative and collateral agents under the Exit ABL
 Facility, solely in their capacity as such.

          1.61     Exit ABL Credit Agreement means that certain senior secured revolving credit
 agreement, dated as of the Effective Date (as it may be amended, restated, amended and restated,
 supplemented, or modified from time to time, solely in accordance with the terms thereof), which will be
 filed as part of the Plan Supplement.

         1.62     Exit ABL Facility means the senior secured asset-based revolving credit facility to be
 provided to certain of the Reorganized Debtors on the Effective Date on the terms and subject to the
 conditions set forth in the Exit ABL Credit Agreement.

         1.63    Exit ABL Facility Documents means, collectively, the Exit ABL Credit Agreement and
 each other agreement, security agreement, pledge agreement, collateral assignment, notice, mortgage,
 control agreement, guarantee, certificate, document or instrument executed or delivered in connection with
 the foregoing, whether or not specifically mentioned herein or therein, as the same may be modified,
 amended, restated, amended and restated, supplemented or replaced from time to time.

          1.64  Exit Facility Documents means, collectively, the New Term Documents and the Exit ABL
 Facility Documents.

         1.65    Exit ABL Lenders means the lenders under the Exit ABL Credit Agreement and any other
 Entity that becomes a lender under the Exit ABL Facility from time to time in accordance with the Exit
 ABL Credit Agreement.

        1.66    Final DIP Order means the order entered by the Bankruptcy Court, among other things,
 approving the DIP Facility and the Debtors’ use of cash collateral on a final basis (Docket No. 447).

         1.67     Final Order means an order or judgment of a court of competent jurisdiction that has been
 entered on the docket maintained by the clerk of such court, which has not been reversed, vacated or stayed
 and as to which (a) the time to appeal, petition for certiorari, or move for a new trial, reargument or
 rehearing has expired and as to which no appeal, petition for certiorari, or other proceedings for a new trial,
 reargument, or rehearing shall then be pending, or (b) if an appeal, writ of certiorari, new trial, reargument,
 or rehearing thereof has been sought, such order or judgment shall have been affirmed by the highest court
 to which such order was appealed, or certiorari shall have been denied, or a new trial, reargument, or


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 rehearing shall have been denied or resulted in no modification of such order, and the time to take any
 further appeal, petition for certiorari or move for a new trial, reargument, or rehearing shall have expired;
 provided, that no order or judgment shall fail to be a “Final Order” solely because of the possibility that a
 motion under Rules 59 or 60 of the Federal Rules of Civil Procedure or any analogous Bankruptcy Rule (or
 any analogous rules applicable in another court of competent jurisdiction) or sections 502(j) or 1144 of the
 Bankruptcy Code has been or may be filed with respect to such order or judgment.

         1.68     General Unsecured Claim means any Claim as of the Petition Date that is neither secured
 by a Lien nor entitled to priority under the Bankruptcy Code or any order of the Bankruptcy Court; provided
 that a General Unsecured Claim does not include (a) any Intercompany Claim, (b) any deficiency claims
 with respect to the IPCo Notes, or (c) any Section 510(b) Claim.

         1.69    Governmental Entity means the United States and any State (including the District of
 Columbia and Puerto Rico), Commonwealth, District, Territory, municipality (including a political
 subdivision or public agency or instrumentality of a State), foreign state, or a department, agency, or
 instrumentality of the foregoing.

           1.70      Group, Inc. means J. Crew Group, Inc.

         1.71   Impaired means, with respect to a Claim, Interest, or Class of Claims or Interests,
 “impaired” within the meaning of sections 1123(a) and 1124 of the Bankruptcy Code.

         1.72    Incremental Debt Equity means New Common Shares issued after the Effective Date in
 connection with the “Fixed Component” as defined in the New Term Credit Agreement.

        1.73   Indentures means, collectively, the IPCo Indentures and the indenture for the
 7.75%/8.50% Senior PIK Toggle Notes due 2022

         1.74  Indenture Trustees means the IPCo Trustee and indenture trustee for the 7.75%/8.50%
 Senior PIK Toggle Notes due 2022.

          1.75    Indenture Trustee Fees means, collectively, to the extent not previously paid, all
 outstanding, reasonable and documented fees and expenses of the Indenture Trustees (including, without
 limitation, attorneys’ and agents’ fees, expenses, and disbursements) to the extent permitted under the
 applicable indenture regardless of whether such fees were incurred before or after the Petition Date.

          1.76       Intercompany Claim means any Claim held by a Debtor against another Debtor as of the
 Petition Date.

          1.77       Intercompany Interest means an Interest in a Debtor held by another Debtor as of the
 Petition Date.

          1.78     Interests means any equity interest in a Debtor immediately before the Effective Date,
 including, all issued, unissued, authorized or outstanding shares of stock, preferred stock, membership
 interests, other instruments evidencing an ownership interest, or equity security in any of the Debtors,
 whether or not transferable, and any option, warrant, right to purchase or acquire any such interests at any
 time, or any other interest that is exercisable, convertible or exchangeable into equity of a Debtor,
 contractual or otherwise, including, equity or equity-based incentives, grants, or other instruments issued,
 granted or promised to be granted to current or former employees, directors, officers, or contractors of the
 Debtors to acquire any such interests in a Debtor.



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         1.79    Interim DIP Order means the Interim Order (I) Authorizing the Debtors to Obtain
 Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and
 Providing Superpriority Administrative Expense Claims, (IV) Granting Adequate Protection to Prepetition
 Secured Parties, (V) Modifying Automatic stay, (VI) Scheduling a Final Hearing, and (VII) Granting
 Related Relief (Docket No. 84).

         1.80     IPCo Debtors means J. Crew Brand, LLC, J. Crew Brand Corp., J. Crew Brand
 Intermediate, LLC, J. Crew International Brand, LLC, and J. Crew Domestic Brand, LLC, each in their
 capacity as obligor under or guarantor of the obligations under the IPCo Indentures, as applicable.

       1.81    IPCo Indentures means the two Indentures dated July 13, 2017 pursuant to which the
 IPCo Notes were issued, as amended from time to time.

          1.82   IPCo Intercreditor Agreement means the Intercreditor Agreement dated July 13, 2017
 between U.S. Bank National Association, as collateral agent for the New Notes Secured Parties (as defined
 in the IPCo Intercreditor Agreement) and U.S. Bank National Association, as collateral agent for the New
 Private Placement Notes Secured Parties (as defined in the IPCo Intercreditor Agreement).

           1.83      IPCo Noteholders means the holders of IPCo Notes, each in their capacity as such.

       1.84  IPCo Notes means the 13% Senior Secured Notes due 2021 and the 13% Senior Secured
 New Money Notes due 2021, issued under the respective IPCo Indentures.

          1.85     IPCo Notes Claims means all Claims as of the Petition Date arising under or related to the
 IPCo Indentures and the IPCo Notes, including any deficiency claims and all accrued but unpaid interest,
 costs, fees, and indemnities.

          1.86    IPCo Trustees means, collectively, U.S. Bank National Association in its capacity as
 collateral agent and trustee under each of the IPCo Indentures, or any duly appointed successor trustee and
 collateral agent under either IPCo Indenture.

           1.87      Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

          1.88     Loan Debtors means J. Crew Group, Inc., Chinos B, J. Crew Operating Corp., J. Crew
 Inc., J. Crew International, Inc., Grace Holmes, Inc., H. F. D. No. 55, Inc., Madewell Inc., and J. Crew
 Virginia, Inc., each in their capacity as obligor under or guarantor of the obligations under the ABL Facility
 Documents and Term Loan Documents, as applicable.

          1.89 Management Incentive Plan means the form, terms, allocation and vesting of awards
 under any management incentive plan adopted after the Effective Date by the New Board in its sole
 discretion.

         1.90    New Board means the initial board of directors of Reorganized Chinos Holdings consisting
 of seven directors to be selected in accordance with Section 5.11 of the Plan.

        1.91     New Common Shares means the shares of common stock of Reorganized Chinos
 Holdings, par value $.001 per share, issued on the Effective Date authorized pursuant to the Certificate of
 Incorporation of Reorganized Chinos Holdings, as set forth in the Plan Supplement.

        1.92     New Equity Allocation means 15% of New Common Shares allocated to the New Term
 Lenders in consideration for their commitments to participate in the New Term Loans in accordance with


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 the Transaction Support Agreement, subject to dilution from (a) New Common Shares issued upon the
 exercise of the New Warrants, (b) New Common Shares issued pursuant to the Management Incentive Plan,
 and (c) New Common Shares issued after the Effective Date other than the Incremental Debt Equity.

         1.93     New Organizational Documents means the organizational and governance documents for
 the Reorganized Debtors, including, as applicable, the certificates or articles of incorporation, certificates
 of formation or certificates of limited partnership, bylaws, limited liability company agreements, or limited
 partnership agreements (or equivalent governing documents of any of the foregoing). To the extent such
 New Organizational Documents reflect material changes to the Debtors’ existing organizational documents
 and bylaws, draft forms of such New Organizational Documents will be included in the Plan Supplement.

         1.94  New Term Agent means the administrative and collateral agent under the New Term
 Credit Agreement, in its capacity as such.

         1.95    New Term Credit Agreement means the credit agreement with respect to the New Term
 Loans, dated as of the Effective Date (as it may be amended, restated, amended and restated, supplemented,
 or modified from time to time, solely in accordance with the terms thereof), which will be filed as part of
 the Plan Supplement.

          1.96   New Term Documents means, collectively, the New Term Credit Agreement and each
 other agreement, security agreement, pledge agreement, collateral assignment, notice, mortgage, control
 agreement, guarantee, certificate, document or instrument executed or delivered in connection with the
 foregoing, whether or not specifically mentioned herein or therein, as the same may be modified, amended,
 restated, amended and restated, supplemented or replaced from time to time.

        1.97     New Term Lender means any lender in respect to the New Term Loan, including all DIP
 Lenders that convert DIP Obligations into New Term Loans, each in their capacity as such.

         1.98    New Term Loans means new senior secured first lien term loans extended to some of the
 Reorganized Debtors under the New Term Documents in an initial aggregate amount of $400 million,
 including any principal amount of DIP Obligations converted into such loans on a dollar-for-dollar basis.

         1.99      New Warrants means warrants entitling the holders thereof to purchase, in the aggregate,
 15% of the New Common Shares at a share price that assumes enterprise value of $1,750,000,000, which
 shares (a) will dilute New Common Shares issued (i) pursuant to the Plan, (ii) as New Equity Allocation or
 as Incremental Debt Equity, and (iii) as the Backstop Premium, and (b) will be diluted by any New Common
 Shares issued after the Effective Date before exercise of the New Warrants, on the terms and subject to the
 conditions set forth in the Warrant Agreement.

         1.100 Ongoing Trade Claim means any General Unsecured Claim held by a party that, within
 30 days of the Petition Date, has executed a trade agreement that expressly designates such party as a holder
 of an Ongoing Trade Claim and that provides for continuity of goods and services to be provided to the
 Reorganized Debtors for a period of at least 180 days on terms no less favorable to the Debtors than those
 in place for the year before the Petition Date, except as otherwise agreed by the Debtors with the consent
 of the Requisite Consenting Support Parties (such consent not to be unreasonably withheld).

         1.101 Other General Unsecured Claim means any General Unsecured Claim other than an
 Ongoing Trade Claim, including, for the avoidance of doubt, the Term Loan Deficiency Claims and all
 Claims arising from rejection of an Executory Contract or Unexpired Lease pursuant to sections 365 or
 1123 of the Bankruptcy Code.



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          1.102 Other Secured Claim means a Claim as of the Petition Date, other than an ABL Facility
 Claim, Term Loan Secured Claim, or IPCo Notes Claim, that is (a) secured by a Lien that is valid, perfected,
 and enforceable under applicable law or by reason of a Final Order, to the extent of the value of the
 applicable Collateral as (i) set forth in the Plan, (ii) agreed to by the holder of such Claim and the Debtors
 (with the consent of the Requisite Consenting Support Parties) or the Reorganized Debtors, as applicable,
 or (iii) determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or
 (b) secured by any right of setoff of the holder thereof in accordance with section 553 of the Bankruptcy
 Code.

       1.103 Petition Date means, with respect to each Debtor, the date on which such Debtor
 commenced its Chapter 11 Case.

         1.104 PIK Toggle Notes Claim means a Claim arising under the indenture for the 7.75%/8.50%
 Senior PIK Toggle Notes due 2022.

         1.105 Plan means this joint chapter 11 plan, including all appendices, exhibits, schedules, and
 supplements hereto (including, any appendices, schedules, and supplements contained in the Plan
 Supplement), as the same may be amended, supplemented, or modified from time to time in accordance
 with the provisions of the Bankruptcy Code.

          1.106 Plan Supplement means the forms of certain documents, schedules, and exhibits
 effectuating the transactions contemplated in the Plan, which are to be filed with the Bankruptcy Court not
 later than 10 calendar days before the deadline for filing objections to the Plan, including, (a) the Exit ABL
 Credit Agreement (b) the New Term Credit Agreement, (c) the Warrant Agreement, (d) the New
 Organizational Documents (to the extent such New Organizational Documents reflect material changes
 from the Debtors’ existing organizational documents and bylaws), (e) to the extent known, information
 required to be disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code; (f) the schedule of
 Causes of Action retained by the Debtors; (g) the Schedule of Rejected Contracts and Leases; and (h) the
 Stockholders Agreement; provided that the Debtors shall have the right to amend any schedules, exhibits,
 or amendments filed as the Plan Supplement through the Effective Date, in accordance with the terms of
 the Plan and the Transaction Support Agreement.

          1.107 Priority Non-Tax Claim means any Claim entitled to priority in payment as specified in
 section 507(a) of the Bankruptcy Code, other than an Administrative Expense Claim, DIP Claim, or a
 Priority Tax Claim.

          1.108 Priority Tax Claim means any Claim of a Governmental Entity of the kind entitled to
 priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy Code.

          1.109 Pro Rata means the proportion that an Allowed Claim or Interest in a particular Class
 bears to the aggregate amount of Allowed Claims or Interests in that Class, or the proportion that Allowed
 Claims or Interests in a particular Class bear to the aggregate amount of Allowed Claims and Disputed
 Claims or Allowed Interests and Disputed Interests, as applicable, in a particular Class and other Classes
 entitled to share in the same recovery under the Plan.

        1.110 Professional means any professional retained pursuant to section 327, 328, or 363 of the
 Bankruptcy Code by the Debtors or any official committee appointed in the Chapter 11 Cases.

         1.111 Professional Fee Claims means all Claims for fees and expenses (including transaction
 and success fees) incurred by a Professional on or after the Petition Date to the extent such fees and expenses
 have not been paid pursuant to an order of the Bankruptcy Court.


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         1.112 Professional Fee Escrow means an escrow account established and funded pursuant to
 Section 2.2 of the Plan.

         1.113 Professional Fee Reserve Amount means the aggregate unpaid Professional Fee Claims
 through the Effective Date as estimated in accordance with Section 2.2(b) of the Plan.

        1.114 Registration Rights Agreement means the agreement pursuant to which Reorganized
 Chinos Holdings will register, offer, and sell the New Common Shares.

         1.115 Reinstate, Reinstated, or Reinstatement means providing a Claim or Interest with the
 treatment contemplated by section 1124(a)(2) of the Bankruptcy Code.

         1.116 Related Parties means individually or collectively, and each in their capacity as such:
 with respect to a given Entity, all present and former officers (including chief restructuring officers),
 directors (including independent directors), stockholders, general or limited partners, managers, managing
 directors, managing members, members, principals, employees, attorneys, agents, trustees, financial
 advisors, restructuring advisors, accountants, investment bankers, consultants, managed accounts, managed
 funds and other representatives and agents of such Entity.

          1.117 Released Parties means each of, and solely in their capacity as such, (a) the Debtors and
 the Reorganized Debtors, (b) the ABL Agent and ABL Lenders, (c) the Term Agent and Term Lenders,
 (d) the Indenture Trustees and IPCo Noteholders, (e) the Consenting Support Parties, (f) the Sponsors, (g)
 the DIP Agent and DIP Lenders, (h) the Exit ABL Agent and Exit ABL Lenders, (i) the New Term Agent
 and New Term Lenders, (j) the Backstop Parties, and (k) the Related Parties for each of the foregoing;
 provided that a holder of a Claim or Interest that objects to or opts-out of the releases set forth in Section
 10.7(b) of the Plan shall not be a “Released Party.”

         1.118 Reorganized Debtors means each of the Debtors, or any successor thereto, on and after
 the Effective Date.

           1.119     Required DIP Lenders means the “Required Lenders” under the DIP Credit Agreement.

        1.120 Requisite Consenting Support Parties has the meaning set forth in the Transaction
 Support Agreement.

         1.121 Schedule of Rejected Contracts and Leases means a schedule, filed as part of the Plan
 Supplement, that sets forth those Unexpired Leases and Executory Contracts that the Debtors with the
 consent of the Requisite Consenting Support Parties, have determined to reject under the Plan.

         1.122 Schedules means, collectively, the schedules of assets and liabilities and statements of
 financial affairs filed by the Debtors pursuant to section 521 of the Bankruptcy Code, as the same may be
 amended, modified, or supplemented from time to time.

         1.123 Section 510(b) Claims means any Claim as of the Petition Date (a) arising from the
 recession of a purchase or sale of a Security of a Debtor; (b) for damages arising from the purchase or sale
 of such Security; or (c) for reimbursement of contribution Allowed under section 502 of the Bankruptcy
 Code on account of such Claim.

           1.124     Securities Act means the Securities Act of 1933, as amended.

           1.125     Security has the meaning set forth in in section 101(49) of the Bankruptcy Code.


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         1.126 Sponsors means, collectively, TPG Chinos, L.P., TPG Chinos Co-Invest, L.P., Green
 Equity Investors V, L.P., Green Equity Investors Side V, L.P., and LGP Chino Coinvest LLC.

      1.127 Stockholders Agreement means the stockholders agreement among the holders of New
 Common Shares, which will be filed as part of the Plan Supplement.

           1.128     Tax Code means the Internal Revenue Code of 1986, as amended from time to time.

        1.129 Term Agent means Wilmington Savings Fund Society, FSB in its capacity as successor
 administrative agent under the Term Loan Agreement.

          1.130 Term Lenders means the lenders under the Term Loan Agreement and any other Entity
 that becomes a lender thereunder from time to time in accordance with the Term Loan Agreement, each in
 their capacity as such.

          1.131 Term Loan Agreement means the Amended and Restated Credit Agreement, dated March
 5, 2014 (as amended, restated, supplemented and otherwise modified from time to time) between Group,
 Inc. as the borrower, the Term Lenders, and the Term Agent.

         1.132 Term Loan Claims means the Term Loan Deficiency Claims and the Term Loan Secured
 Claims, collectively.

          1.133 Term Loan Deficiency Claims means any Claim arising under the Term Loan Documents
 that is not a secured Claim as determined pursuant to section 506(a) of the Bankruptcy Code.

           1.134 Term Loan Documents means the Term Loan Agreement and all other agreements,
 documents, and instruments delivered or entered into in connection therewith, including any guarantee
 agreements, pledge and collateral agreements, intercreditor agreements, subordination agreements, fee
 letters, and other security documents.

        1.135 Term Loan Secured Claims means all Claims arising under or related to the Term Loan
 Documents, including all accrued but unpaid interest, costs, fees, guarantees and indemnities, other than
 any Term Loan Deficiency Claims.

         1.136 Transaction Support Agreement means the Transaction Support Agreement, dated May
 3, 2020, among the Debtors and the other parties thereto, as it may be amended, supplemented, or modified
 from time to time in accordance with the terms thereof.

          1.137 Unexpired Lease means an unexpired lease to which one or more of the Debtors is a party
 that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

         1.138 Unimpaired means, with respect to a Claim, Interest, or Class of Claims or Interests, not
 “impaired” within the meaning of sections 1123(a) and 1124 of the Bankruptcy Code.

        1.139 Warrant Agreement means the warrant agreement providing for issuance of the New
 Warrants, which will be filed as part of the Plan Supplement.

           B.        Interpretation; Application of Definitions and Rules of Construction

                  Unless otherwise specified, all section or exhibit references in the Plan are to the respective
 section in, or exhibit to, the Plan, as the same may be amended, waived, or modified from time to time.


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 The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer to the Plan as
 a whole and not to any particular section, subsection, or clause contained therein. The headings in the Plan
 are for convenience of reference only and shall not limit or otherwise affect the provisions hereof. For
 purposes herein: (a) in the appropriate context, each term, whether stated in the singular or the plural, shall
 include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
 shall include the masculine, feminine, and the neuter gender; (b) any reference herein to a contract, lease,
 instrument, release, indenture, or other agreement or document being in a particular form or on particular
 terms and conditions means that the referenced document shall be substantially in that form or substantially
 on those terms and conditions; (c) unless otherwise specified, all references herein to “Sections” are
 references to Sections hereof or hereto; (d) the rules of construction set forth in section 102 of the
 Bankruptcy Code shall apply; and (e) any term used in capitalized form herein that is not otherwise defined
 but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that
 term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

           C.        Reference to Monetary Figures

                 All references in the Plan to monetary figures shall refer to legal tender of the United States
 of America, unless otherwise expressly provided.

           D.        Controlling Document

                 In the event of an inconsistency between the terms and provisions in the Plan (without
 reference to the Plan Supplement) and the terms and provisions in the Disclosure Statement, the Plan
 Supplement, any other instrument or document created or executed pursuant to the Plan or any order (other
 than the Confirmation Order) referenced in the Plan (or any exhibits, schedules, appendices, supplements
 or amendments to any of the foregoing), the Plan (without reference to the Plan Supplement) shall govern
 and control; provided, that notwithstanding anything herein to the contrary, in the event of a conflict
 between the Confirmation Order, on the one hand, and the Plan or any of the instruments in the Plan
 Supplement, on the other hand, the Confirmation Order shall govern and control in all respects.

          ARTICLE II            ADMINISTRATIVE EXPENSE AND PRIORITY TAX CLAIMS.

           2.1.      Administrative Expense Claims

                   Each holder of an Allowed Administrative Expense Claim (other than a Professional Fee
 Claim or DIP Claim), except to the extent such holder agrees to less favorable treatment, shall receive, in
 full and final satisfaction, settlement, release, and discharge of, and in exchange for, such Claim, cash in an
 amount equal to such Allowed Administrative Expense Claim on, or as soon thereafter as is reasonably
 practicable, the later of (a) the Effective Date, and (b) the first business day after the date that is 30 calendar
 days after the date such Administrative Expense Claim becomes an Allowed Administrative Expense
 Claim; provided that (a) any Allowed Administrative Expense Claims representing liabilities incurred in
 the ordinary course of business shall be paid by the Debtors or the Reorganized Debtors, as applicable, in
 the ordinary course of business, consistent with past practice and in accordance with the terms and subject
 to the conditions of any course of dealing or agreements governing, instruments evidencing, or other
 documents relating to the applicable transaction and (b) the holders of any adequate protection claims
 granted by the DIP Order will not receive any recovery on account of such claims, having waived such
 recovery solely for purposes of the Plan.

                 Except as otherwise provided in Section 2.1 of the Plan and except with respect to
 Professional Fee Claims, requests for payment of Administrative Expense Claims must be filed and served
 on the Debtors or Reorganized Debtors no later than the Administrative Expense Bar Date. Holders of


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 Administrative Expense Claims that are required to file and serve a request for payment and that do not
 timely file and serve such a request shall be forever barred from asserting such Administrative Expense
 Claims against the Debtors, the Reorganized Debtors, or their respective property, and such Administrative
 Expense Claims shall be forever barred, estopped, and enjoined from asserting such Administrative
 Expense Claims.

           2.2.      Professional Fee Claims

                     (a)       Final Fee Applications

                 All final requests for Professional Fee Claims shall be filed no later than 60 days after the
 Effective Date unless otherwise ordered by the Bankruptcy Court.

                     (b)       Professional Fee Reserve Amount

                 All Professionals shall estimate in good faith their unpaid Professional Fee Claims before
 and as of the Effective Date and shall deliver such estimate to the Debtors and counsel to the Ad Hoc
 Committee at least three calendar days before the Effective Date; provided that such estimate shall not be
 deemed to limit the amount of the fees and expenses that are the subject of the Professional’s final request
 for payment of Professional Fee Claims. If a Professional does not provide such estimate, the Debtors and
 Reorganized Debtors may estimate the unbilled fees and expenses of such Professional; provided that such
 estimate shall not be considered an admission or limitation with respect to the fees and expenses of such
 Professional. The total amount so estimated as of the Effective Date shall comprise the Professional Fee
 Reserve Amount.

                     (c)       Professional Fee Escrow

                  If the Professional Fee Reserve Amount is greater than zero, then as soon as reasonably
 practicable after the Confirmation Date and no later than the Effective Date, the Debtors will establish and
 fund the Professional Fee Escrow with cash equal to the Professional Fee Reserve Amount, and no Liens,
 Claims, or interests will encumber the Professional Fee Escrow in any way. The Professional Fee Escrow
 (including funds held in the Professional Fe Escrow) will (i) not be and will not be deemed to be property
 of the Debtors or the Reorganized Debtors and (ii) will be held in trust for the Professionals; provided that
 funds remaining in the Professional Fee Escrow after all Allowed Professional Fee Claims have been
 irrevocably paid in full will revert to the Reorganized Debtors. Allowed Professional Fee Claims will be
 paid in cash to such Professionals from funds held in the Professional Fee Escrow when such Claims are
 Allowed by an order of the Bankruptcy Court; provided that the Debtors’ obligations with respect to
 Professional Fee Claims will not be limited nor deemed to be limited in any way to the balance of funds
 held in the Professional Fee Escrow.

                  If the amount of funds in the Professional Fee Escrow is insufficient to fund payment in
 full of all Allowed Professional Fee Claims and any other Allowed amounts owed to Professionals, the
 deficiency will be promptly funded to the Professional Fee Escrow from the Debtors’ estates and
 Reorganized Debtors without any further action or order of the Bankruptcy Court.

                     (d)       Post-Effective Date Fees and Expenses

                  On and after the Effective Date, the Debtors and the Reorganized Debtors, as applicable,
 will pay in the ordinary course of business and without any further action or order of the Bankruptcy Court,
 pay in cash the reasonable legal, professional, or other fees and expenses related to implementation of the
 Plan incurred by the Debtors and Reorganized Debtors, as applicable.


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                   On the Effective Date, any requirement that Professionals comply with sections 327
 through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation for services provided
 after such date shall terminate, and the Reorganized Debtors may employ and pay any post-Effective Date
 fees and expenses of any Professional in the ordinary course of business without any further notice to or
 action, order, or approval of the Bankruptcy Court.

           2.3.      DIP Claims

                  Except if a holder of an Allowed DIP Claim agrees to less favorable treatment, each holder
 of an Allowed DIP Claim will receive, on the Effective Date, in full and final satisfaction, settlement,
 release, and discharge of such Allowed DIP Claim, (a) (i) on account of the outstanding principal amount
 of such Claim, an equal principal amount of New Term Loans, (ii) a portion of the New Equity Allocation
 and New Warrants, and (iii) cash on account of accrued and unpaid interest and other charges payable
 through the Effective Date, or (b) such other treatment agreed upon among the Debtors, the Requisite
 Consenting Support Parties, and the holders of Allowed DIP Claims.

           2.4.      Priority Tax Claims

                  Except if a holder of an Allowed Priority Tax Claim agrees to less favorable treatment,
 each holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction, settlement, release,
 and discharge of, and in exchange for, such Allowed Priority Tax Claim, at the sole option of the
 Reorganized Debtors, cash in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter
 as is reasonably practicable, the later of (a) the Effective Date, to the extent such Claim is an Allowed
 Priority Tax Claim on the Effective Date, (b) the first business day after the date that is 30 calendar days
 after the date such Priority Tax Claim becomes an Allowed Priority Tax Claim, and (c) the date such
 Allowed Priority Tax Claim is due and payable in the ordinary course; provided that the Debtors and the
 Reorganized Debtors, as applicable, reserve the right to prepay all or a portion of any Allowed Priority Tax
 Claim at any time without penalty or premium.

           2.5.      Payment of Statutory Fees

                   On and after the Effective Date, the Reorganized Debtors shall pay all fees incurred
 pursuant to section 1930 of chapter 123 of title 28 of the United States Code, together with interest, if any,
 pursuant to section 3717 of title 31 of the United States Code for each Debtor’s case, or until such time as
 a final decree is entered closing a particular Debtor’s case, a Final Order converting such Debtor’s case to
 a case under chapter 7 of the Bankruptcy Code is entered, or a Final Order dismissing such Debtor’s case
 is entered.

                  ARTICLE III         CLASSIFICATION OF CLAIMS AND INTERESTS.

           3.1.      Classification in General

                  A Claim or Interest is placed in a particular Class under sections 1122 and 1123(a)(1) of
 the Bankruptcy Code for all purposes, including voting, confirmation, and distribution under the Plan;
 provided that a Claim or Interest is placed in a particular Class for the purpose of receiving distributions
 pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest
 and such Allowed Claim or Allowed Interest has not been satisfied, released, or otherwise settled.




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           3.2.      Formation of Debtor Groups for Convenience Only

                   The Plan groups the Debtors together solely for the purpose of describing treatment under
 the Plan, confirmation of the Plan, and making distributions in accordance with the Plan. Such groupings
 shall not affect any Debtor’s status as a separate legal Entity, change the organizational structure of the
 Debtors’ business enterprise, constitute a change of control of any Debtor for any purpose, cause a merger
 or consolidation of any legal entities, or cause the transfer of any assets; and, except as otherwise provided
 by or permitted under the Plan, all Reorganized Debtors shall continue to exist as separate legal entities
 after the Effective Date.

           3.3.      Summary of Classification

                   The below table designates Classes of Claims and Interests for each Debtor and specifies
 which of those Classes are (a) Impaired or Unimpaired by the Plan, (b) entitled to vote to accept or reject
 the Plan in accordance with section 1126 of the Bankruptcy Code, and (c) presumed to accept or deemed
 to reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
 Claims and Priority Tax Claims have not been classified.

      Class              Designation                        Treatment              Entitled to Vote
           Priority Non-Tax Claims                          Unimpaired
        1                                                                      No (Presumed to accept)
           (All Debtors)
           Other Secured Claims                             Unimpaired
        2                                                                      No (Presumed to accept)
           (All Debtors)
           ABL Facility Claims                              Unimpaired
        3                                                                      No (Presumed to accept)
           (Only Loan Debtors)
           Term Loan Secured Claims                           Impaired
        4                                                                                Yes
           (Only Loan Debtors)
           IPCo Notes Claims                                  Impaired
        5                                                                                Yes
           (Only IPCo Debtors)
           Ongoing Trade Claims                               Impaired
      6-A                                                                                Yes
           (All Debtors)
           Other General Unsecured Claims                     Impaired
       6-B                                                                               Yes
           (All Debtors)
           Intercompany Claims                              Unimpaired
        7                                                                      No (Presumed to accept)
           (All Debtors)
           Section 510(b) Claims                              Impaired
        8                                                                       No (Deemed to reject)
           (All Debtors)
           Intercompany Interests                           Unimpaired
        9                                                                      No (Presumed to accept)
           (All Debtors)
           Existing Holdings Preferred Equity                 Impaired
      10-A                                                                      No (Deemed to reject)
           (Only Chinos Holdings)
           Existing Holdings Equity                           Impaired
      10-B                                                                      No (Deemed to reject)
           (Only Chinos Holdings)

           3.4.      Special Provision Governing Unimpaired Claims

                  Nothing in the Plan shall affect the rights of the Debtors or the Reorganized Debtors, as
 applicable, in respect of any Unimpaired Claims, including all rights in respect of legal and equitable
 defenses to, or setoffs or recoupments against, any such Unimpaired Claims.



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           3.5.      Elimination of Vacant Classes

                 Any Class of Claims or Interests that, as of the commencement of the Confirmation
 Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount greater than
 zero for voting purposes shall be considered vacant, deemed eliminated from the Plan of the applicable
 Debtor for purposes of voting to accept or reject such Debtor’s Plan, and disregarded for purposes of
 determining whether such Plan satisfies section 1129(a)(8) of the Bankruptcy Code.

           3.6.      Voting Classes; Presumed Acceptance by Non-Voting Classes

                  If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests
 eligible to vote in such Class vote to accept or reject the Plan, the Debtors shall request the Bankruptcy
 Court at the Confirmation Hearing to deem the Plan accepted by such Class.

                     ARTICLE IV           TREATMENT OF CLAIMS AND INTERESTS.

           4.1.      Priority Non-Tax Claims (Class 1)

                (a)            Classification: For each Debtor, Class 1 consists of Priority Non-Tax Claims
 against such Debtor.

                    (b)    Treatment: Except if a holder of an Allowed Priority Non-Tax Claim agrees to a
 less favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, such Allowed Priority Non-Tax Claim, at the sole option of the Reorganized Debtors,
 (i) each such holder shall receive payment in cash in an amount equal to the Allowed amount of such Claim,
 payable on the later of the Effective Date and the date that is 10 business days after the date on which such
 Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, or as soon thereafter as is reasonably
 practicable, (ii) such holder’s Allowed Priority Non-Tax Claim shall be Reinstated, or (iii) such holder shall
 receive such other treatment consistent with section 1129(a)(9) of the Bankruptcy Code so as to render such
 holder’s Allowed Priority Non-Tax Claim Unimpaired.

                 (c)      Voting: Class 1 is Unimpaired, and the holders of Priority Non-Tax Claims are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Priority Non-Tax Claims are not entitled to vote to accept or reject the Plan, and the
 votes of such holders of Priority Non-Tax Claims will not be solicited.

           4.2.      Other Secured Claims (Class 2)

                  (a)      Classification: For each Debtor, Class 2 consists of Other Secured Claims against
 such Debtor. If Other Secured Claims are secured by different Collateral or different interests in the same
 Collateral, such Claims shall be treated as separate subclasses of Class 2 for purposes of voting to accept
 or reject the Plan and receiving distributions under the Plan.

                  (b)     Treatment: Except if a holder of an Allowed Other Secured Claim agrees to a less
 favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of, and
 in exchange for, such Allowed Other Secured Claim, at the option of the Reorganized Debtors, on the later
 of the Effective Date and the date that is 10 business days after the date such Other Secured Claim becomes
 an Allowed Claim, or as soon thereafter as is reasonably practicable, each holder of an Allowed Other
 Secured Claim shall receive on account of such Allowed Claim (i) cash in an amount equal to the Allowed
 amount of such Claim, (ii) delivery of the collateral securing such Allowed Claim and cash for any interest
 required under section 506(b) of the Bankruptcy Code, or (iii) Reinstatement or such other treatment that


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 will render such holder’s Allowed Other Secured Claim Unimpaired. If an Other Secured Claim is treated
 under clauses (i) or (ii), the Liens securing such Other Secured Claim shall be deemed released immediately
 upon payment or delivery of collateral, as applicable.

                 (c)      Voting: Class 2 is Unimpaired, and the holders of Other Secured Claims are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Other Secured Claims are not entitled to vote to accept or reject the Plan, and the
 votes of such holders of Other Secured Claims will not be solicited.

           4.3.      ABL Facility Claims (Class 3)

                 (a)     Classification: For each Loan Debtor, Class 3 consists of ABL Facility Claims,
 and such Class is vacant for all other Debtors.

                  (b)     Allowance: The ABL Facility Claims are Allowed pursuant to section 506(a) of
 the Bankruptcy Code against each of the Loan Debtors in the aggregate face amount of the then outstanding
 amount under the ABL Credit Agreement, (i) plus any unreimbursed amounts thereunder, and any accrued
 and unpaid interest payable at the default rate specified under the ABL Credit Agreement on such
 unreimbursed amounts through the Effective Date, (ii) plus the amount of any outstanding letters of credit
 issued pursuant to the ABL Facility, (iii) plus any fees, charges, expenses, and other amounts due but unpaid
 under the ABL Credit Agreement including any “Cash Management Obligations” as defined therein.
 Neither the ABL Lenders nor the ABL Agent shall be required to file proofs of claim on account of any
 ABL Facility Claims, but the ABL Agent will submit a payoff letter for the Debtors’ approval at least 14
 days before the Effective Date.

                 (c)      Treatment: Except if a holder of an Allowed ABL Facility Claim agrees to a less
 favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of, and
 in exchange for, each Allowed ABL Facility Claim, each holder of an Allowed ABL Facility Claim will
 receive, on the Effective Date, cash in the full amount of its Allowed ABL Facility Claim and all issued
 and outstanding letters of credit shall be cash collateralized in accordance with the terms and conditions of
 the ABL Credit Agreement. To the extent that any other ABL Facility Claim is contingent as of the
 Effective Date, the Reorganized Debtors may, in their sole discretion, elect to (i) terminate any further
 commitments under the ABL Facility, (ii) cash collateralize such contingent amounts, or (iii) provide the
 ABL Lenders with such other treatment mutually satisfactory.

                  (d)     Voting: Class 3 is Unimpaired, and the holders of ABL Facility Claims are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Allowed ABL Facility Claims are not entitled to vote to accept or reject the Plan, and
 the votes of such holders of ABL Facility Claims will not be solicited.

           4.4.      Term Loan Secured Claims (Class 4)

                (a)      Classification: For each Loan Debtor, Class 4 consists of Term Loan Secured
 Claims, and such Class is vacant for all other Debtors.

                 (b)    Allowance: The Term Loan Secured Claims are Allowed pursuant to section
 506(a) of the Bankruptcy Code against each Loan Debtor in the aggregate amount of $716,645,605.

                  (c)      Treatment: Except if a holder of an Allowed Term Loan Secured Claim agrees to
 a less favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, its Allowed Term Loan Secured Claim, each holder of an Allowed Term Loan Secured


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 Claim will receive, on the Effective Date, its Pro Rata share of New Common Shares representing, in the
 aggregate, 76.5% of the New Common Shares issued on the Effective Date remaining after distributing the
 Backstop Premium, the New Equity Allocation, and any other New Common Shares distributed pursuant
 to the Plan other than the New Common Shares distributed to holders of IPCo Notes Claims, which will be
 subject to dilution from New Common Shares (i) issuable upon exercise of the New Warrants, (ii) issued
 pursuant to the Management Incentive Plan, and (iii) otherwise issued by Reorganized Chinos Holdings
 after the Effective Date, including the Incremental Debt Equity.

                  (d)     Voting: Class 4 is Impaired, and the holders of Allowed Term Loan Secured
 Claims are entitled to vote to accept or reject the Plan.

           4.5.      IPCo Notes Claims (Class 5)

                 (a)      Classification: For each IPCo Debtor, Class 5 consists of IPCo Notes Claims, and
 such Class is vacant for all other Debtors.

                  (b)     Allowance: The IPCo Notes Claims are Allowed against each IPCo Debtor in the
 aggregate principal amount of $347,599,000, plus (i) a make-whole premium equal to $58,044,927,
 (ii) accrued and unpaid interest through the Petition Date equal to $6,025,049, and (iii) any other prepetition
 obligations payable under the IPCo Indentures and IPCo Notes.

                  (c)      Treatment: Except if a holder of an Allowed IPCo Notes Claim agrees to a less
 favorable treatment of such Claim and notwithstanding anything to the contrary in the IPCo Indentures or
 the IPCo Intercreditor Agreement, in full and final satisfaction, settlement, release, and discharge of, and
 in exchange for, its Allowed IPCo Notes Claim, each holder of an Allowed IPCo Notes Claim will receive,
 on the Effective Date, its Pro Rata share of New Common Shares representing, in the aggregate, 23.5% of
 the New Common Shares issued on the Effective Date remaining after distributing the Backstop Premium,
 the New Equity Allocation, and any other New Common Shares distributed pursuant to the Plan other than
 the New Common Shares distributed to holders of Term Loan Secured Claims, subject to dilution from
 New Common Shares (i) issuable upon exercise of the New Warrants, (ii) issued pursuant to the
 Management Incentive Plan, and (iii) otherwise issued by Reorganized Chinos Holdings after the Effective
 Date, including the Incremental Debt Equity.

                   (d)     Voting: Class 5 is Impaired, and the holders of Allowed IPCo Notes Claims are
 entitled to vote to accept or reject the Plan.

           4.6.      Ongoing Trade Claims (Class 6-A)

                     (a)       Classification: For each Debtor, Class 6-A consists of Ongoing Trade Claims.

                  (b)     Treatment: Except if a holder of an Allowed Ongoing Trade Claim agrees to a less
 favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of, and
 in exchange for, such Claim, each holder of an Allowed Ongoing Trade Claim will receive, on the Effective
 Date, its Pro Rata share of a cash pool in an aggregate amount equal to $71,000,000; provided that the
 aggregate amount of cash distributed on account of any Allowed Ongoing Trade Claim will not exceed
 50% of the Allowed amount of such Claim.

                   (c)     Voting: Class 6-A is Impaired, and the holders of Allowed Ongoing Trade Claims
 are entitled to vote to accept or reject the Plan.




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           4.7.      Other General Unsecured Claims (Class 6-B)

                     (a)        Classification: For each Debtor, Class 6-B consists of Other General Unsecured
 Claims.

                  (b)     Treatment: Except if a holder of an Allowed Other General Unsecured Claim
 agrees to a less favorable treatment of such Claim, in full and final satisfaction, settlement, release, and
 discharge of, and in exchange for, such Claim, each holder of an Allowed Other General Unsecured Claim
 will receive, on the Effective Date, its Pro Rata share of the cash pool allocated to each Debtor as set forth
 below; provided that the aggregate amount of cash distributed on account of any Allowed Other General
 Unsecured Claim will not exceed 50% of the Allowed amount of such Claim. The cash pool may be
 reallocated among the Debtors after the occurrence of the Claims bar date, in their reasonable business
 judgement, to recalibrate for, among other things, the Claims asserted against each Debtor.

                                                                    Cash Pool
                               Debtor
                                                   If Class 6-B Accepts    If Class 6-B Rejects
                  J. Crew Inc.                    $69,000                 $23,000
                  J. Crew Operating Corp.         $1,877,000              $625,900
                  Grace Holmes, Inc.              $399,000                $133,000
                  H.F.D. No. 55, Inc.             $165,000                $55,000
                  Madewell Inc.                   $489,700                $163,000
                  J. Crew Group, Inc.             $300                    $100
                  Total                           $3,000,000              $1,000,000

 The Plan shall be deemed a filed objection for purposes of section 502 of the Bankruptcy Code to any Claim
 arising out of or relating to the rejection of an Executory Contract or Unexpired Lease whose holder is
 seeking the allowance of such Claim in excess of the amounts allowable under section 502(b) of the
 Bankruptcy Code.

 Subject to occurrence of the Effective Date and solely for purposes of the Plan, holders of the Term Loan
 Deficiency Claims agree to forgo any distribution under the Plan on account of such Term Loan Deficiency
 Claims.

                   (c)     Voting: Class 6-B is Impaired, and the holders of Other General Unsecured Claims
 are entitled to vote to accept or reject the Plan.

           4.8.      Intercompany Claims (Class 7)

                     (a)        Classification: For each Debtor, Class 7 consists of Intercompany Claims.

                   (b)     Treatment: From and after the Effective Date, all Intercompany Claims, including
 the PIK Toggle Notes Claim, shall be adjusted, continued, settled, Reinstated, discharged, contributed to
 capital, or eliminated, in each case to the extent determined to be appropriate by the Reorganized Debtors
 in their sole discretion.

                 (c)      Voting: Class 7 is Unimpaired, and the holders of Intercompany Claims are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Intercompany Claims are not entitled to vote to accept or reject the Plan, and the votes
 of such holders will not be solicited.




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           4.9.      Section 510(b) Claims (Class 8)

                     (a)       Classification: For each Debtor, Class 8 consists of Section 510(b) Claims.

                  (b)      Treatment: On the Effective Date, all Section 510(b) Claims will be cancelled,
 released, discharged, and extinguished and will be of no further force or effect, and holders of such claims
 will not receive any distribution on account of such claims.

                  (c)      Voting: Class 8 is Impaired, and the holders of Section 510(b) Claims are
 conclusively deemed to reject the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
 holders of Section 510(b) Claims are not entitled to vote to accept or reject the Plan, and the votes of such
 holders will not be solicited.

           4.10.     Intercompany Interests (Class 9)

                     (a)       Classification: For each Debtor, Class 9 consists of Intercompany Interests.

                  (b)      Treatment: From and after the Effective Date, all Intercompany Interests shall be
 adjusted, Reinstated, or cancelled, to the extent reasonably determined to be appropriate by the Reorganized
 Debtors in their sole discretion.

                 (c)     Voting: Class 9 is Unimpaired, and the holders of Intercompany Interests are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Intercompany Interests are not entitled to vote to accept or reject the Plan, and the
 votes of such holders will not be solicited.

           4.11.     Existing Holdings Preferred Equity (Class 10-A)

                 (a)     Classification: For Chinos Holdings, Class 10-A consists of Existing Holdings
 Preferred Equity, and such Class is vacant for all other Debtors.

                  (b)     Treatment: Holders of Existing Holdings Preferred Equity shall not receive or
 retain any property under the Plan on account of such Existing Holdings Preferred Equity. On the Effective
 Date, all Existing Holdings Preferred Equity shall be cancelled and shall be of no further force and effect,
 regardless of whether surrendered for cancellation.

                  (c)     Voting: Class 10-A is Impaired, and the holders of Existing Holdings Preferred
 Equity are conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
 Code. Therefore, holders of Existing Holdings Preferred Equity are not entitled to vote to accept or reject
 the Plan, and the votes of such holders of Existing Holdings Preferred Equity will not be solicited.

           4.12.     Existing Holdings Equity (Class 10-B)

                 (a)     Classification: For Chinos Holdings, Class 10-B consists of Existing Holdings
 Equity, and such Class is vacant for all other Debtors.

                 (b)      Treatment: Holders of Existing Holdings Equity shall not receive or retain any
 property under the Plan on account of such Existing Holdings Equity. On the Effective Date, all Existing
 Holdings Equity shall be cancelled and shall be of no further force and effect, regardless of whether
 surrendered for cancellation.



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                 (c)      Voting: Class 10-B is Impaired, and the holders of Existing Holdings Equity are
 conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
 Therefore, holders of Existing Holdings Equity are not entitled to vote to accept or reject the Plan, and the
 votes of such holders of Existing Holdings Equity will not be solicited.

                               ARTICLE V      MEANS FOR IMPLEMENTATION.

           5.1.      Sources of Funding for Plan Distributions

                  Distributions under the Plan will be funded with (a) the Debtors’ cash on hand, (b) cash
 proceeds from the Exit ABL Facility, (c) conversion of principal of DIP Obligations to New Term Loans
 pursuant to Section 2.3 of the Plan, (d) any cash proceeds from the New Term Loans, and (e) issuance of
 New Common Shares and New Warrants. The Confirmation Order will be deemed to authorize, among
 other things, the foregoing transactions.

           5.2.      General Corporate Authority

                    (a)      On the Effective Date, or as soon as practicable thereafter, the Reorganized
 Debtors shall take such actions as may be or become necessary or appropriate to effect any transaction
 described in, approved by, contemplated by, or necessary to effectuate the Plan, including (i) the execution
 and delivery of appropriate agreements or other documents of merger, consolidation, restructuring,
 financing, conversion, disposition, transfer, dissolution, transition services, or liquidation containing terms
 that are consistent with the terms of the Plan and that satisfy the applicable requirements of applicable law
 and any other terms to which the applicable Entities may determine; (ii) the execution and delivery of
 appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
 liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms to which
 the applicable parties agree; (iii) the filing of appropriate certificates or articles of incorporation,
 reincorporation, merger, consolidation, conversion, or dissolution and the New Organizational Documents
 pursuant to applicable state law; (iv) the issuance of securities, including the New Common Shares, New
 Equity Allocation, New Warrants, and the New Common Shares issuable upon exercise of the New
 Warrants, all of which shall be authorized and approved in all respects, without further action being required
 under applicable law, regulation, order, or rule; (v) if the Debtors expect to qualify for and elect to utilize
 the special bankruptcy exception under section 382(l)(5) of the Tax Code, the Debtors may seek Bankruptcy
 Court approval of certain procedures and potential restrictions on the accumulation of Claims by Entities
 who are or will be substantial claimholders and the charter, bylaws, and other organizational documents
 may restrict certain transfer of the New Common Shares, and (vi) all other actions that the applicable
 Entities determine to be necessary or appropriate, including making filings or recordings that may be
 required by applicable law or to reincorporate in another jurisdiction, subject, in each case, to the New
 Organizational Documents.

                  (b)      Each officer, manager, or member of the board of directors of the Debtors is (and
 each officer, manager, or member of the Reorganized Debtors, shall be) authorized and directed to issue,
 execute, deliver, file, or record such contracts, securities, instruments, releases, indentures, and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate,
 implement, and further evidence the terms and conditions of the Plan and the securities issued pursuant to
 the Plan (including the New Equity Allocation and New Warrants) in the name of and on behalf of the
 Reorganized Debtors, all of which shall be authorized and approved in all respects, in each case, without
 the need for any approvals, authorization, consents, or any further action required under applicable law,
 regulation, order, or rule (including any action by the stockholders or directors or managers of the Debtors
 or the Reorganized Debtors) except for those expressly required pursuant to the Plan.



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                (c)      All matters provided for herein involving the corporate structure of the Debtors or
 Reorganized Debtors, to the extent applicable, or any corporate or related action required by the Debtors or
 Reorganized Debtors in connection herewith shall be deemed to have occurred and shall be in effect,
 without any requirement of further action by the stockholders, members, or directors or managers of the
 Debtors or Reorganized Debtors, and with like effect as though such action had been taken unanimously
 by the stockholders, members, directors, managers, or officers, as applicable, of the Debtors or the
 Reorganized Debtors.

           5.3.      Exit ABL Facility

                 (a)      On the Effective Date, in accordance with, and subject to, the terms and conditions
 of the Exit ABL Facility Documents, the Reorganized Debtors will enter into the Exit ABL Facility without
 the need for any further corporate action and without further action by the holders of Claims or Interests.
 Any proceeds of the Exit ABL Facility shall be used to (i) fund distributions, costs, and expenses
 contemplated by the Plan, and (ii) fund general working capital and for general corporate purposes of the
 Reorganized Debtors, in each case subject to the terms of the Exit ABL Facility Documents.

                   (b)      On the Effective Date, the Exit ABL Facility Documents shall be executed and
 delivered by the Reorganized Debtors. All Liens and security interests granted pursuant to the Exit ABL
 Facility Documents shall be (i) valid, binding, perfected, and enforceable Liens on and security interests in
 the personal and real property described in and subject to such document, with the priorities established in
 respect thereof under applicable non-bankruptcy law, (ii) granted in good faith and deemed not to constitute
 a fraudulent conveyance or fraudulent transfer, and (iii) not otherwise subject to avoidance,
 recharacterization, or subordination under any applicable law. Each of the Entities granting such Liens and
 security interests are authorized to make all filings and recordings, and to obtain all governmental approvals
 and consents necessary to establish, attach, and perfect such Liens and security interests under any
 applicable law, and shall thereafter cooperate to make all other filings and recordings that otherwise would
 be necessary under applicable law to give notice of such Liens and security interests to third parties.

           5.4.      Conversion of DIP Claims; New Term Loans

 In consideration of each Consenting Support Party (which includes any IPCo Noteholder or Term Lender
 that is a qualified institutional buyer or accredited institutional investor and becomes a Consenting Support
 Party by electing to participate in the DIP Obligations and New Term Loans in accordance with the
 Transaction Support Agreement) agreeing to support the transactions described in the Transaction Support
 Agreement to be consummated pursuant to the Plan, consenting to exchange such party’s Term Loan
 Secured Claims and IPCo Notes Claims for the New Common Shares, and consenting to the various
 conditions and covenants set forth in the Transaction Support Agreement, including, among other things,
 the imposition of restrictions on the transfer of its Claims and Interests, each Consenting Support Party
 shall have the right to participate in providing the DIP Loans and the New Term Loans, and also to receive
 the New Equity Allocation and New Warrants. On the Effective Date:

                (a)     the principal amount of the DIP Claims will be converted to New Term Loans(the
 DIP Claims so converted shall be deemed to have been paid in full and be no longer outstanding);

                (b)     in accordance with, and subject to, the terms and conditions of the New Term
 Documents, the Reorganized Debtors will borrow or be deemed to have borrowed the New Term Loans
 without the need for any further corporate action and without further action by the holders of Claims or
 Interests;




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                  (c)      the New Term Documents shall be executed and delivered by the Reorganized
 Debtors. All Liens and security interests granted pursuant to the New Term Documents shall be (i) valid,
 binding, perfected, and enforceable Liens on and security interests in the personal and real property
 described in and subject to such document, with the priorities established in respect thereof under applicable
 non-bankruptcy law, (ii) granted in good faith and deemed not to constitute a fraudulent conveyance or
 fraudulent transfer, and (iii) not otherwise subject to avoidance, recharacterization, or subordination under
 any applicable law. Each of the Entities granting such Liens and security interests are authorized to make
 all filings and recordings, and to obtain all governmental approvals and consents necessary to establish,
 attach, and perfect such Liens and security interests under any applicable law, and shall thereafter cooperate
 to make all other filings and recordings that otherwise would be necessary under applicable law to give
 notice of such Liens and security interests to third parties; and

                 (d)     the Reorganized Debtors will issue to each Consenting Support Party the pro rata
 share (the numerator being the outstanding principal amount of New Term Loans held by such party on the
 Effective Date and the denominator being the aggregate outstanding principal amount of all New Term
 Loans on the Effective Date) of the New Equity Allocation and the New Warrants.

 Proceeds of the New Term Loans shall be used to (i) fund distributions, costs, and expenses contemplated
 by the Plan, and (ii) fund general working capital and general corporate needs of the Reorganized Debtors,
 in each case subject to the terms of the New Term Documents.

           5.5.      Backstop Commitments

                On the Effective Date, in exchange for providing the commitments described in the
 Backstop Commitment Letter, the Backstop Parties will receive the Backstop Premium in accordance with
 the Backstop Commitment Letter.

           5.6.      Authorization and Issuance of New Common Shares and the New Warrants

                 (a)     On the Effective Date, the Reorganized Debtors shall issue or cause to be issued
 the New Common Shares (including New Common Shares on account of the New Equity Allocation and
 the Backstop Premium) and the New Warrants in accordance with the terms of the Plan, the New
 Organizational Documents, and the Warrant Agreement, without the need for any further corporate, limited
 liability company, or shareholder action. All of the New Common Shares, including the New Common
 Shares issuable upon exercise of the New Warrants, upon payment of the exercise price in accordance with
 the terms of such New Warrant, when so issued, shall be duly authorized, validly issued, fully paid, and
 non-assessable when so issued.

                   (b)      On the Effective Date, (i) neither the New Common Shares nor the New Warrants
 shall be registered under the Securities Act, and neither the New Common Shares nor the New Warrants
 shall be listed for public trading on any securities exchange and (ii) none of the Reorganized Debtors shall
 be a reporting company under the Exchange Act.

                   (c)    Except as provided in the Plan or the Confirmation Order, the New Common
 Shares and the New Warrants shall be issued in the names of such holders or their nominees in accordance
 with DTC’s book-entry exchange procedures or on the books and records of a transfer agent; provided, that
 such New Common Shares and New Warrants will only be issued in accordance with DTC book-entry
 procedures if permitted to be held through DTC’s book-entry system and the Reorganized Debtors, in their
 sole discretion, deem such method of distribution advisable. If the New Common Shares or New Warrants
 are issued in accordance with DTC book-entry procedures (i) one or more global certificates representing
 such New Common Shares or New Warrants, as applicable, shall be registered with the transfer agent or


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 warrant agent, as applicable, as agent for the New Common Shares or New Warrants, as applicable, in the
 name of, and shall be deposited with, DTC or its nominee, (ii) the ownership interest of each holder of
 such New Common Shares or New Warrants, and transfers of ownership interests therein, shall be recorded
 on the records of the direct and indirect participants in DTC, and (iii) to receive distributions of New
 Common Shares or New Warrants, holders of applicable Allowed Claims shall be required to designate a
 direct or indirect participant in DTC with whom such holder has an account into which such New Common
 Shares or New Warrants, as applicable, may be deposited.

           5.7.      Continued Corporate Existence

                 (a)    The Debtors shall continue to exist after the Effective Date as the Reorganized
 Debtors in accordance with the applicable laws of the respective jurisdictions in which they are incorporated
 or organized and pursuant to the New Organizational Documents.

                  (b)      On or after the Effective Date, each Reorganized Debtor may take such action that
 may be necessary or appropriate as permitted by applicable law and such Reorganized Debtor’s
 organizational documents, as such Reorganized Debtor may determine is reasonable and appropriate to
 effect any transaction described in, approved by, or necessary or appropriate to effectuate, the Plan,
 including causing: (i) a Reorganized Debtor to be merged or dissolved; (ii) a Reorganized Debtor to be
 converted to a limited liability company or other entity; (iii) the legal name of a Reorganized Debtor to be
 changed; or (iv) the closure of a Chapter 11 Case on the Effective Date or any time thereafter.

           5.8.      Exemption from Securities Laws

                  (a)     On and as of the Effective Date, in accordance with the Transaction Support
 Agreement, if any party will beneficially own (as defined in Rules 13d-3 and 13d-5 under the Exchange
 Act) 2% or more of the New Common Shares outstanding on the Effective Date, Reorganized Chinos
 Holdings shall enter into and deliver the Registration Rights Agreement to each such party and such
 agreement shall be deemed to be valid, binding, and enforceable in accordance with its terms, and each
 party thereto shall be bound thereby.

                    (b)     The offer, issuance, and distribution of the New Common Shares pursuant to
 Section 4.4 and Section 4.5 of the Plan and the Backstop Premium will be exempt, pursuant to section 1145
 of the Bankruptcy Code, without further act or action by any Entity, from registration under the Securities
 Act, and all rules and regulations promulgated thereunder, and any state or local law requiring registration
 for the offer, issuance, or distribution of Securities. These securities shall be freely tradable by the recipients
 thereof, subject to: (i) the holder not being an “underwriter” with respect to such securities, as that term is
 defined in subsection (b) of section 1145 the Bankruptcy Code or being directly or indirectly controlling or
 controlled by, or under direct or indirect common control with, the Reorganized Debtor that issued such
 securities; (ii) compliance with any rules and regulations of the Securities and Exchange Commission
 applicable at the time of any future transfer of such securities or instruments; (iii) any restrictions on the
 transferability of the New Common Shares contained in the Stockholders Agreement; and (iv) any
 applicable regulatory approval.

                  (c)      The offer, issuance, and distribution of the New Equity Allocation and the New
 Warrants to the New Term Lenders are being made in reliance on the exemption from registration set forth
 in section 4(a)(2) of the Securities Act and/or Regulation D thereunder. Such securities together with the
 Shares of New Common Shares issuable upon exercise of the New Warrants will be considered “restricted
 securities” and may not be transferred except pursuant to an effective registration statement or under an
 available exemption from the registration requirements of the Securities Act, such as, under certain
 conditions, the resale provisions of Rule 144 or Rule 144A under the Securities Act. Additionally, the New


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 Warrants are subject to any restrictions on the transferability of such New Warrants contained in the
 Warrant Agreement.

                 (d)      If the Reorganized Debtors elect, on or after the Effective Date, for any portion of
 the New Common Shares to be held through the facilities of the DTC, then DTC will be required to accept
 and conclusively rely on the Plan and the Confirmation Order in lieu of a legal opinion regarding whether
 the New Common Shares are exempt from registration or eligible for DTC book-entry delivery, settlement,
 and depository services.

           5.9.      Cancellation of Existing Securities and Agreements

                  (a)     Except for the purpose of evidencing a right to a distribution under the Plan and
 except as otherwise set forth in the Plan, including with respect to Executory Contracts or Unexpired Leases
 that shall be assumed by the Reorganized Debtors on the Effective Date, all agreements, instruments, and
 other documents evidencing the ABL Facility Claims, Term Loans Claims, IPCo Notes Claims, PIK Toggle
 Notes Claims (if cancelled by the Reorganized Debtors pursuant to Section 4.8 of the Plan), Existing
 Holdings Preferred Equity, or Existing Holders Equity, and any rights of any holder in respect thereof shall
 be deemed cancelled, discharged, and of no force or effect and the obligations of the Debtors thereunder
 shall be deemed fully satisfied, released, and discharged.

                   (b)      Notwithstanding such cancellation and discharge, the ABL Credit Agreement, the
 IPCo Indentures, the indentures for the 7.75%/8.50% Senior PIK Toggle Notes due 2022 (if cancelled by
 the Reorganized Debtors pursuant to Section 4.8 of the Plan) and the Term Loan Agreement shall continue
 in effect solely to the extent necessary to (i) allow the holders of Allowed ABL Facility Claims, Allowed
 IPCo Claims, and Allowed Term Loans Claims to receive distributions under the Plan, (ii) allow the
 Reorganized Debtors, the ABL Agent, the Term Agent, the Indenture Trustees, and the Distribution Agent,
 as applicable, to make post-Effective Date distributions or to otherwise exercise their rights and discharge
 their obligations relating to the interests of the holders of such Claims (including, if applicable, the right of
 the IPCo Trustees to exercise their respective charging lien), (iii) except as otherwise released, enjoined, or
 exculpated under the Plan, preserve their respective rights and obligations of the holders of such Claims
 vis-à-vis other holders of such Claims pursuant to any applicable documents, (iv) allow each of the ABL
 Agent, the Term Agent, and the Indenture Trustees to enforce its rights, claims, and interests vis-à-vis any
 non-Debtor, (v) preserve the rights of the ABL Agent and the Indenture Trustees to payment of fees and
 expenses, including in the exercise of its charging lien from any money or property distributable to the
 holders of the ABL Facility Claims or IPCo Notes Claims, and any rights to priority of payment, (vi)
 preserve the right of each Indenture Trustee to exculpation and indemnification from the Reorganized
 Debtors, (vii) allow the ABL Agent, the Term Agent, and the Indenture Trustees to enforce any obligations
 owed to them under the Plan, (viii) permit the ABL Agent, the Term Agent, and the Indenture Trustees to
 perform any function necessary to effectuate the foregoing, (ix) permit the ABL Agent, the Term Agent,
 and the Indenture Trustees to appear in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court
 relating to the ABL Credit Agreement, the Indentures, or the Term Credit Agreement, as applicable, and
 (x) permit and require the ABL Agent, the Term Agent, and the Indenture Trustees to execute, deliver, and
 file any payoff or lien termination documentation requested by the Debtors in accordance with the ABL
 Credit Agreement, the Term Loan Agreement, or the Indentures (or any documents related thereto or
 otherwise delivered in connection therewith), as applicable; provided that nothing in this Section 5.9(b)
 shall affect the discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan
 or result in any liability or expense to the Reorganized Debtors.

                (c)      Notwithstanding the foregoing, any provision in any document, instrument, lease,
 or other agreement that causes or effectuates, or purports to cause or effectuate, a default, termination,
 waiver, or other forfeiture of, or by, the Debtors of their interests, as a result of the cancellations,


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 terminations, satisfaction, releases, or discharges provided for in this Section 5.9 shall be deemed null and
 void and shall be of no force and effect.

           5.10.     Cancellation of Liens

                  Except as otherwise specifically provided in Section 5.9(b) of the Plan, upon the
 satisfaction of an Other Secured Claim, ABL Facility Claim, Term Loan Secured Claim, or IPCo Claim in
 accordance with the Plan, any Lien on the property securing such Claim shall be deemed automatically
 released and discharged without further action, and all of the right, title, and interest of any holder of such
 Lien, including any rights to any applicable Collateral, will revert to the applicable Reorganized Debtor and
 its successors and assigns. The holder of such Claim shall be directed to release any Collateral or other
 property of the Debtors held by such holder and to take such actions as may be requested by the Reorganized
 Debtors to evidence the release of such Lien, including the execution, delivery and filing or recording of
 such releases as may be requested by the Reorganized Debtors. The Reorganized Debtors also shall be
 authorized to execute and file on behalf of the holders of such Liens any instruments that may be necessary
 or appropriate to implement the provisions of this Section 5.10. The Indenture Trustees will be authorized
 and directed to execute and deliver to the Reorganized Debtors, at the Reorganized Debtors’ expense, any
 documents the Reorganized Debtors may request to evidence the cancellation of Liens and rights to
 Collateral securing the applicable claims.

           5.11.     Officers and Boards of Directors

                  (a)     The identities of the members of the New Board and other boards of directors or
 managers of the Reorganized Debtors, and, to the extent applicable, the officers of each Reorganized
 Debtor, shall be disclosed at or before the Confirmation Hearing in accordance with section 1129(a)(5) of
 the Bankruptcy Code.

                 (b)     Commencing on the Effective Date, each of the directors, managers, and officers
 of each of the Reorganized Debtors shall be elected and serve pursuant to the terms of the applicable
 organizational documents of such Reorganized Debtor and may be replaced or removed in accordance with
 such organizational documents.

           5.12.     Certain Employee, Director, and Officer Matters

                   (a)      On the Effective Date, the Reorganized Debtors shall be deemed to have assumed
 all Benefit Plans and Employee Arrangements, other than those Executory Contracts that have been rejected
 by the Debtors or which are the subject of a pending rejection motion on the Confirmation Date; provided
 that notwithstanding anything to the contrary in the Employee Arrangements, the consummation of the Plan
 shall not be treated as a “change in control” or “change of control” or other similar transaction with respect
 to the Employee Arrangements.

                  (b)     For the avoidance of doubt, if a Benefit Plan or an Employee Arrangement is
 assumed, and such Benefit Plan or Employment Arrangement provides for an award or potential award of
 Existing Holdings Equity, such Benefit Plan or Employment Arrangement shall be assumed in all respects
 other than the provisions of such agreement relating to such award.




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                                    ARTICLE VI          DISTRIBUTIONS.

           6.1.      Distributions Generally

                 The Distribution Agent shall make all distributions under the Plan to the appropriate
 holders of Allowed Claims in accordance with the terms of the Plan.

                  Distributions to be made to holders of IPCo Notes Claims shall be made to the applicable
 IPCo Trustee, which, subject to their rights to assert their charging lien against distributions, shall transmit
 such distributions to holders of IPCo Notes Claims under their respective Indenture. The IPCo Trustees
 may, with the consent of the Debtors and the Requisite Consenting Support Parties, establish a different
 record date for distributions to holders of IPCo Notes Claims and shall transfer or direct the transfer of such
 distributions through the facilities of DTC. The Indenture Trustees shall be entitled to recognize and deal
 for all purposes under the Plan with holders of IPCo Notes Claims to the extent consistent with the
 customary practices of DTC, and all distributions to be made to holders of IPCo Notes Claims shall be
 delivered to the IPCo Trustee in a form that is eligible to be distributed through the facilities of DTC. No
 later than five business days prior to the Effective Date, the Debtors shall provide the IPCo Trustees with
 written instructions by CUSIP number regarding the number of New Common Shares to be distributed to
 holders of IPCo Notes Claims.

           6.2.      Distribution Record Date

                  As of the close of business on the Effective Date, the various lists of holders of Claims or
 Interests in each Class, as maintained by the Debtors or their respective agents, shall be deemed closed, and
 there shall be no further changes in the record holders of any Claims or Interests. The Reorganized Debtors
 shall have no obligation to recognize any transfer of the Claims or Interests occurring on or after the
 Effective Date. In addition, with respect to payment of any Cure Obligation or disputes over any Cure
 Obligation, neither the Reorganized Debtors nor the Distribution Agent shall have any obligation to
 recognize or deal with any party other than the non-Debtor party to the applicable Executory Contract or
 Unexpired Lease as of the Effective Date, even if such non-Debtor party has sold, assigned, or otherwise
 transferred its Claim for a Cure Obligation.

           6.3.      Date of Distributions

                  Except as otherwise provided in the Plan, any distributions and deliveries to be made under
 the Plan shall be made on the Effective Date or as otherwise determined in accordance with the Plan,
 including the treatment provisions of Article IV of the Plan, or as soon as practicable thereafter; provided
 that the Reorganized Debtors may implement periodic distributions to the extent they determine it to be
 appropriate. If any payment or act under the Plan is required to be made or performed on a date that is not
 a business day, then the making of such payment or the performance of such act may be completed on the
 next succeeding business day but shall be deemed to have been completed as of the required date.
 Distributions on account of any such Disputed Claims shall be made pursuant to the provisions set forth in
 Article VII of the Plan.

           6.4.      Distribution Agent

                  The Debtors and the Reorganized Debtors, as applicable, shall have the authority to enter
 into agreements with one or more Distribution Agents to facilitate the distributions required hereunder. All
 distributions under the Plan shall be made by the Distribution Agent, on behalf of the applicable Debtor
 (unless otherwise provided herein), or by the Reorganized Debtors if no Distribution Agents are engaged,
 on or after the Effective Date. The Reorganized Debtors shall use all commercially reasonable efforts to


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 provide the Distribution Agent (if other than the Reorganized Debtors) with the amounts of Claims and the
 identities and addresses of holders of Claims, in each case, as set forth in the Debtors’ or the Reorganized
 Debtors’ books and records. The Reorganized Debtors shall cooperate in good faith with the Distribution
 Agent (if other than the Reorganized Debtors) to comply with the reporting and withholding requirements
 outlined in Section 6.19 of the Plan.

           6.5.      Rights and Powers of Distribution Agent

                   (a)      From and after the Effective Date, the Distribution Agent, solely in its capacity as
 Distribution Agent, shall be exculpated by all Entities, including holders of Claims and Interests and other
 parties in interest, from any and all claims, Causes of Action, and other assertions of liability arising out of
 the discharge of the powers and duties conferred upon such Distribution Agent by the Plan or any order of
 the Bankruptcy Court entered pursuant to or in furtherance of the Plan, or applicable law, except for actions
 or omissions arising out of the gross negligence or willful misconduct, fraud, malpractice, criminal conduct,
 or ultra vires acts of such Distribution Agent. No holder of a Claim or Interest or other party in interest
 shall have or pursue any claim or Cause of Action against the Distribution Agent, solely in its capacity as
 Distribution Agent, for making payments in accordance with the Plan or for implementing provisions of
 the Plan, except for actions or omissions arising out of the gross negligence or willful misconduct, fraud,
 malpractice, criminal conduct, or ultra vires acts of such Distribution Agent.

                 (b)     The Distribution Agent shall be empowered to (i) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties hereunder, (ii) make all
 distributions provided for in the Plan, and (iii) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, or as deemed by the Distribution Agent to be
 necessary and proper to implement the provisions of the Plan.

           6.6.      Expenses of Distribution Agent

                  If the Distribution Agent is an Entity other than the Reorganized Debtors, and except as
 otherwise ordered by the Bankruptcy Court, any reasonable and documented fees and expenses incurred by
 the Distribution Agent acting in such capacity (including reasonable documented attorneys’ fees, expenses,
 and taxes) on or after the Effective Date shall be paid in cash by the Reorganized Debtors in the ordinary
 course of business upon presentation of invoices to the Reorganized Debtors and without the need for
 approval by the Bankruptcy Court.

           6.7.      Postpetition Interest

                  Except as otherwise specifically provided for in the Plan, the Confirmation Order, or
 another order of the Bankruptcy Court, interest shall not accrue or be paid on any Claims on or after the
 Petition Date, and no holder of a Claim shall be entitled to (a) interest accruing on or after the Petition Date
 on such Claim or (b) interest at the contract default rate.

           6.8.      Delivery of Distributions

                  Subject to the provisions contained in this Article VI, the Distribution Agent will issue or
 cause to be issued, and authenticate, as applicable, all distributions or payments to holders of Allowed
 Claims, as and when required by the Plan at: (a) the address of such holder on the books and records of the
 Debtors or their agents; (b) the address included on any filed proofs of claim; or (c) the address in any
 written notice of address change delivered to the Debtors or indicated on any transfers of Claims filed with
 the Bankruptcy Court. If any distribution to any holder is returned as undeliverable, no further distributions
 shall be made to such holder unless and until the Distribution Agent is notified in writing of such holder’s


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 then-current address, at which time all then-due, missed distributions shall be made to such holder as soon
 as reasonably practicable thereafter without interest. Nothing herein shall require the Distribution Agent
 or the Reorganized Debtors to attempt to locate holders of undeliverable distributions and, if located, assist
 such holders in complying with Section 6.19 of the Plan.

           6.9.      Distributions after Effective Date

               Distributions made after the Effective Date to holders of Disputed Claims that become
 Allowed Claims after the Effective Date shall be deemed to have been made on the Effective Date.

           6.10.     Unclaimed Property

                  Undeliverable or unclaimed distributions shall remain in the possession of the Reorganized
 Debtors until such time as a distribution becomes deliverable or the holder accepts distribution, and shall
 not accrue interest, dividends, or other accruals of any kind. No further distributions shall be made to the
 applicable holder unless and until the Distribution Agent is notified in writing of such holder’s then-current
 address or other necessary information for delivery, at which time such undelivered distribution shall be
 made to such holder within 90 days of receipt of such holder’s then-current address or other necessary
 information. Undeliverable or unclaimed distributions shall be deemed unclaimed property under section
 347(b) of the Bankruptcy Code at the expiration of 180 days from the later of (a) the Effective Date and (b)
 the date of the initial attempted distribution. On such date, all unclaimed property shall revert to the
 Reorganized Debtors automatically and without need for a further order by the Bankruptcy Court
 (notwithstanding any applicable non-bankruptcy escheat, abandoned, or unclaimed property laws to the
 contrary), and the right, title, and interest of any other Entity to such property shall be discharged and
 forever barred. The Reorganized Debtors and the Distribution Agent shall have no obligation to attempt to
 locate any holder of an Allowed Claim other than by reviewing the Debtors’ books and records and filings
 with the Bankruptcy Court.

           6.11.     Time Bar to Cash Payments

                  Checks issued by the Distribution Agent on account of Allowed Claims shall be null and
 void if not negotiated within 180 days after the date of issuance thereof. Thereafter, the amount represented
 by such voided check shall irrevocably revert to the Reorganized Debtors, and any Claim in respect of such
 voided check shall be discharged and forever barred, notwithstanding any federal or state escheat laws to
 the contrary. Requests for re-issuance of any check shall be made to the Distribution Agent by the holder
 of the Allowed Claim to whom such check was originally issued.

           6.12.     Manner of Payment under Plan

                 Except as otherwise specifically provided in the Plan, at the option of the Reorganized
 Debtors, any cash payment to be made hereunder may be made by a check or wire transfer or as otherwise
 required or provided in applicable agreements or customary practices of the Debtors. The wire transfer fee
 will be deducted from the amount of the distribution to a holder of an Allowed Claim would otherwise
 receive.

           6.13.     Satisfaction of Claims

                 Except as otherwise specifically provided in the Plan, any distributions and deliveries to
 be made on account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
 and discharge of and exchange for such Allowed Claims.



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           6.14.     Fractional Stock and New Warrants

                   If any distribution of New Common Shares or exercise of New Warrants would result in
 the issuance of a fractional New Common Share, then the number of New Common Shares to be issued in
 respect of such distribution or exercise, as applicable, shall be calculated to one decimal place and rounded
 up or down to the closest whole share (with a half share or greater rounded up and less than a half share
 rounded down). The total number of New Common Shares shall be adjusted as necessary to account for
 the rounding provided for herein. No consideration shall be provided in lieu of fractional shares that are
 rounded down. DTC is considered a single holder of New Common Shares for the rounding and distribution
 purposes. Neither the Reorganized Debtors nor the Distribution Agent shall have any obligation to make a
 distribution that is less than one New Common Share.

           6.15.     Minimum Cash Distributions

                   The Distribution Agent shall not be required to make any distribution on account of an
 Allowed Claim that is less than $50; provided that if no distribution is made to a holder of an Allowed
 Claim pursuant to this Section 6.15, the amount of such distribution shall be added to any subsequent
 distribution(s) to such holder on account of such Allowed Claim until the distribution such holder is entitled
 to is $50 or higher.

           6.16.     Maximum Distributions and Rights of Reimbursement

                  In no event shall an Allowed Claim receive distributions under the Plan in excess of the
 Allowed amount of such Claim, except to the extent postpetition interest is expressly Allowed by the Plan.
 Nothing contained herein shall in any way affect, impair or modify the rights of a holder of a claim against
 any Entity that is not a Debtor.

           6.17.     Setoffs and Recoupments

                 The Debtors and the Reorganized Debtors, as applicable, or such Entity’s designee
 (including the Distribution Agent) may, but shall not be required to, set off or recoup against any Claim,
 and any distribution to be made on account of such Claim, any and all claims, rights, and Causes of Action
 of any nature whatsoever that the Debtors or the Reorganized Debtors may have against the holder of such
 Claim pursuant to the Bankruptcy Code or applicable nonbankruptcy law; provided, that neither the failure
 to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by a Debtor or a
 Reorganized Debtor or its successor or assign of any claims, rights, or Causes of Action that a Debtor or a
 Reorganized Debtor or its successor or assign may possess against the holder of such Claim.

           6.18.     Allocation of Distributions between Principal and Interest

                  Except as otherwise required by law (as reasonably determined by the Reorganized
 Debtors), distributions with respect to Allowed Claims in Classes 4, 5, 6-A, and 6-B shall be allocated first
 to the principal portion of such Allowed Claim (as determined for United States federal income tax
 purposes) and, thereafter, to the remaining portion of such Allowed Claim, if any.

           6.19.     Withholding and Reporting Requirements

                   (a)     Withholding Rights. In connection with the Plan, any party issuing any instrument
 or making any distribution described in the Plan or payment in connection therewith shall comply with all
 applicable withholding and reporting requirements imposed by any federal, state, or local taxing authority,
 and all distributions pursuant to the Plan and all related agreements shall be subject to any such withholding


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 or reporting requirements. In the case of a non-cash issuance or distribution that is subject to withholding,
 the distributing party may withhold an appropriate portion of such distributed property and either (i) sell
 such withheld property to generate cash necessary to pay over the withholding tax (or reimburse the
 distributing party for any advanced payment of the withholding tax), or (ii) pay the withholding tax using
 its own funds and retain such withheld property. Any amounts withheld pursuant to the preceding sentence
 shall be deemed to have been distributed to and received by the applicable recipient for all purposes of the
 Plan. Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity that receives a
 distribution pursuant to the Plan shall have responsibility for any taxes imposed by any Governmental
 Entity, including income, withholding, and other taxes, on account of such distribution. Any party issuing
 any instrument or making any distribution pursuant to the Plan has the right, but not the obligation, to not
 make a distribution until such holder has made arrangements satisfactory to such issuing or disbursing party
 for payment of any such tax obligations.

                  (b)     Forms. Any party entitled to receive any property as an issuance or distribution
 under the Plan shall deliver to the withholding agent (which, if such withholding agent is not the
 Distribution Agent, shall subsequently deliver to the Distribution Agent) an appropriate Form W-9 or (if
 the payee is a foreign Entity) Form W-8 and any other forms or documents reasonably requested by any
 Reorganized Debtor to reduce or eliminate any withholding required by any federal, state, or local taxing
 authority. If such request is made by the Reorganized Debtors, and the holder fails to comply before the
 date that is 180 days after the request is made, the amount of such distribution shall irrevocably revert to
 the applicable Reorganized Debtor and any Claim in respect of such distribution shall be discharged and
 forever barred from assertion against the applicable Reorganized Debtor or its property.

           6.20.     Hart-Scott-Rodino Antitrust Improvements Act

                 Any New Common Shares or the New Warrants to be distributed to an Entity required to
 file a premerger notification and report form under the Hart-Scott-Rodino Antitrust Improvements Act of
 1976, as amended, to the extent applicable, shall not be distributed until the notification and waiting periods
 applicable under such Act to such Entity have expired or been terminated.

                        ARTICLE VII        PROCEDURES FOR DISPUTED CLAIMS.

           7.1.      Allowance of Claims

                 Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases
 before the Effective Date (including the Confirmation Order), no Claim shall become an Allowed Claim
 until such Claim is deemed Allowed pursuant to the Plan, the Confirmation Order, or a Final Order. All
 settlements approved pursuant to Bankruptcy Rule 9019 or otherwise before the Effective Date by an order
 of the Bankruptcy Court shall be binding on all parties.

           7.2.      Disputed Claims Process

                  (a)    If a holder of a Claim elects to file a proof of claim, such holder shall be deemed
 to have consented to the jurisdiction of the Bankruptcy Court for all purposes with respect to such Claim,
 and the Bankruptcy Court shall retain nonexclusive jurisdiction over all such Claims, which shall be
 resolved on a case-by-case basis through settlements, Claim objections (or, if necessary, through adversary
 proceedings), adjudication in a forum other than the Bankruptcy Court, or by withdrawal of the Claims by
 the holders of such Claims.

                   (b)       The Debtors and the Reorganized Debtors, as applicable, shall have the exclusive
 authority to file, settle, compromise, withdraw, or litigate to judgment any objections to Claims; provided


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 that, consistent with section 502(a) of the Bankruptcy Code, any party in interest is permitted to object to
 any proof of claim that is filed with the Bankruptcy Court. Except for the Claims that are expressly Allowed
 by the Plan or a Final Order, all proofs of claim filed in these Chapter 11 Cases shall be considered Disputed
 Claims without further action by the Debtors.

                  (c)     Except as otherwise provided in the Plan, from and after the Effective Date, each
 Reorganized Debtor shall have and retain any and all rights and defenses the applicable Debtor had
 immediately before the Effective Date, including the Causes of Action retained pursuant to the Plan. From
 and after the Effective Date, the Reorganized Debtors may satisfy, dispute, settle, or otherwise compromise
 any Claim without approval of the Bankruptcy Court.

           7.3.      Objections to Claims

                   Only the Reorganized Debtors shall be entitled to object to Disputed Claims after the
 Effective Date. Any objections to proofs of claim shall be served and filed (a) on or before 180 days
 following the later of (i) the Effective Date and (ii) the date that a proof of claim is filed or amended or a
 Claim is otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or (b) such
 later date as ordered by the Bankruptcy Court upon motion filed by the Debtors or the Reorganized Debtors.
 The expiration of such period shall not limit or affect the Reorganized Debtors’ rights to dispute Claims
 asserted other than through a proof of claim.

           7.4.      Estimation of Claims

                  The Debtors or the Reorganized Debtors, as applicable, may at any time request that the
 Bankruptcy Court estimate any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of
 the Bankruptcy Code regardless of whether the Debtors previously objected to such Claim or whether the
 Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction to
 estimate any Claim at any time during litigation concerning any objection to any Claim, including during
 the pendency of any appeal relating to any such objection. If the Bankruptcy Court estimates any
 contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute either the Allowed
 amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy Court.
 Notwithstanding any provision in the Plan to the contrary, a Claim that has been expunged but that either
 is subject to appeal or has not been the subject of a Final Order shall be deemed to be estimated at zero
 dollars unless otherwise ordered by the Bankruptcy Court. If the estimated amount constitutes a maximum
 limitation on the amount of such Claim, the Debtors or the Reorganized Debtors may pursue supplementary
 proceedings to object to the allowance of such Claim.

           7.5.      Adjustment to Claims Without Objection

                   Any duplicate Claim or any Claim that has been paid, satisfied, amended, or superseded
 may be adjusted or expunged without the Reorganized Debtors having to file an application, motion,
 complaint, objection, or any other legal proceeding seeking to object to such Claim, and without any further
 notice to or action, order, or approval of the Bankruptcy Court.

           7.6.      Disallowance of Certain Claims

                 Any Claims held by Entities from which property is recoverable under section 542, 543,
 550, or 553 of the Bankruptcy Code or that are transferees of a transfer avoidable under section 522(f),
 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be deemed Disallowed pursuant
 to section 502(d) of the Bankruptcy Code unless expressly Allowed pursuant to the Plan, and holders of
 such Claims may not receive any distributions on account of such Claims until such time as such Causes of


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 Action against such holders have been settled or a Final Order of the Bankruptcy Court with respect thereto
 has been entered and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the
 Reorganized Debtors.

           7.7.      Amendment to Claims

                  A Claim may not be filed, amended, or supplemented after the applicable bar date
 established by the Bankruptcy Court without the prior written authorization of the Bankruptcy Court or the
 Reorganized Debtors, and any such new, amended, or supplemented Claim filed without such written
 authorization shall be deemed Disallowed in full and expunged without any further notice to or action,
 order, or approval of the Bankruptcy Court to the maximum extent provided by applicable law.

           7.8.      Late Filed Claims

                  Except as otherwise provided herein or as agreed to by the Debtors or the Reorganized
 Debtors, any proof of claim filed after the deadline established by the Bankruptcy Court with respect to
 such Claim shall be deemed Disallowed and expunged as of the Effective Date without any further notice
 to or action, order, or approval of the Bankruptcy Court, and holders of such Claims may not receive any
 distributions on account of such Claims, unless such late proof of claim has been deemed timely filed by a
 Final Order

           7.9.      No Distributions Pending Allowance

                 If an objection, motion to estimate, or other challenge to a Claim is filed, no distribution
 provided under the Plan shall be made on account of such Claim unless and until (and only to the extent
 that) such Claim becomes an Allowed Claim.

           7.10.     Distributions after Allowance

                  To the extent that a Disputed Claim ultimately becomes, in whole or in part, an Allowed
 Claim, distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
 provisions of the Plan, including the provisions of Article IV of the Plan. Such distributions shall be made
 as soon as practicable after the date that the order or judgment of the Bankruptcy Court allowing such
 Disputed Claim (or portion thereof) becomes a Final Order. In the event the Bankruptcy Court issues a
 Final Order deeming a Claim an Allowed Claim, the Distribution Agent shall remit for distribution to the
 holder of such Allowed Claim, the cash or cash equivalents in an amount equal to the amount that would
 have been distributed to the holder of such Claim from the Effective Date through and including the date
 of distribution had such Claim been Allowed as of the Effective Date.

           7.11.     Claim Resolution Procedures Cumulative

                 All of the objection, estimation, and resolution procedures in the Plan are intended to be
 cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
 compromised, withdrawn, or resolved in accordance with the Plan without further notice or Bankruptcy
 Court approval.




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              ARTICLE VIII        EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

           8.1.      General Treatment

                  (a)    Unless otherwise provided by an order of the Bankruptcy Court, at least 21 days
 before the Confirmation Hearing, the Debtors shall file or serve notices of proposed assumption and
 proposed Cure Obligations on counterparties to Executory Contracts and Unexpired Leases to be assumed
 pursuant to the Plan. Any objection to the assumption of an Executory Contract or Unexpired Lease under
 the Plan must be filed, served and actually received by the Debtors no later than seven days before the
 Confirmation Hearing, unless otherwise extended by the Debtors. Any counterparty to an Executory
 Contract or Unexpired Lease that fails to timely object to the proposed assumption of any Executory
 Contract or Unexpired Lease will be deemed to have consented to such assumption and the proposed Cure
 Obligations.

                   (b)     As of and subject to the occurrence of the Effective Date and the payment of any
 applicable Cure Obligation, all Executory Contracts and Unexpired Leases, which have not expired or
 terminated by their own terms on or before the Effective Date, shall be deemed assumed by the Reorganized
 Debtors on the Effective Date, except for any Executory Contract or Unexpired Lease that (i) is listed on
 the Schedule of Rejected Contracts and Leases; (ii) has been previously rejected pursuant to a Final Order
 of the Bankruptcy Court (including where the effective date of such rejection is scheduled for after the
 Effective Date); (iii) has been previously assumed or assigned; or (iv) is the subject of a motion to assume,
 assign, or reject pending on the Effective Date; provided that the Debtors shall not reject, nor seek to reject,
 any Executory Contract or Unexpired Lease without the prior written consent of the Requisite Consenting
 Support Parties (such consent not to be unreasonably withheld).

                  (c)     Subject to the occurrence of the Effective Date, the payment of any applicable Cure
 Obligations, and resolution of any Assumption Dispute in accordance with Section 8.2 of the Plan, entry of
 the Confirmation Order shall constitute approval, pursuant to sections 365(a) and 1123 of the Bankruptcy
 Code, of the assumptions or rejections, as applicable, of the Executory Contract and Unexpired Lease in
 accordance with Section 8.1(b) of the Plan and a determination by the Bankruptcy Court that the
 Reorganized Debtors have provided adequate assurance of future performance under each assumed
 Executory Contract and Unexpired Lease. Each Executory Contract and Unexpired Lease assumed
 pursuant to the Plan shall vest in and be fully enforceable by the applicable Reorganized Debtor in
 accordance with its terms, except as modified by any order of the Bankruptcy Court authorizing and
 providing for its assumption. To the extent that any provision in any Executory Contract or Unexpired
 Lease assumed pursuant to the Plan restricts or prevents, purports to restrict or prevent, or is breached or
 deemed breached by the assumption of such Executory Contract or Unexpired Lease (including any
 “change of control” provision), such provision shall be deemed modified such that the assumption
 contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such Executory Contract
 or Unexpired Lease or to exercise any other default-related rights with respect thereto.

           8.2.      Determination of Assumption Disputes and Deemed Consent

                (a)     Any Cure Obligation due under an Executory Contract and Unexpired Lease to be
 assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by
 payment in cash on the Effective Date, subject to the limitation described below, by the applicable
 Reorganized Debtor, or on such other terms as the parties to such Executory Contract or Unexpired Lease
 may otherwise agree.

                   (b)      In the event of an Assumption Dispute regarding (i) the amount of the Cure
 Obligation, (ii) the ability of the applicable Reorganized Debtor to provide “adequate assurance of future


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 performance” (within the meaning of section 365 of the Bankruptcy Code), or (iii) any other matter
 pertaining to the assumption of an Executory Contract or Unexpired Lease, sections 365 and 1123 of the
 Bankruptcy Code shall be deemed satisfied following the entry of a Final Order or orders resolving the
 dispute and approving the assumption; provided that the Reorganized Debtors may settle any dispute
 regarding the amount of any Cure Obligation without any further notice to any party or any action, order,
 or approval of the Bankruptcy Court.

                   (c)     After resolution of an Assumption Dispute by Final Order of the Bankruptcy Court
 or by the parties, the applicable Executory Contract or Unexpired Lease shall be deemed assumed effective
 as of the Effective Date; provided that if any Assumption Dispute is resolved unfavorably to the
 Reorganized Debtors, including a determination that the Claim subject to such Assumption Dispute is
 Allowed in an amount greater than the Cure Obligation for such Claim asserted by the Debtors and/or the
 Reorganized Debtors, the applicable Debtor may reject the applicable Executory Contract or Unexpired
 Lease by filing a notice indicating such rejection with the Bankruptcy Court, and any such rejection shall
 be effective as of the Effective Date.

                  (d)      Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise, subject to satisfaction of the applicable Cure Obligation, shall result in the full release and
 satisfaction of any defaults, whether monetary or nonmonetary, including defaults of provisions restricting
 the change in control or ownership interest composition or other bankruptcy-related defaults, arising under
 such assumed Executory Contract or Unexpired Lease at any time before the effective date of its
 assumption. Any Claim set forth in the Schedules or any proofs of claim with respect to an Executory
 Contract or Unexpired Lease that has been assumed shall be deemed Disallowed and expunged, without
 further notice to or action, order, or approval of the Bankruptcy Court.

                  (e)     With respect to any Assumption Dispute, neither the Reorganized Debtors nor the
 Distribution Agent shall have any obligation to recognize or deal with any party other than the non-Debtor
 party to the applicable Executory Contract or Unexpired Lease as of the Effective Date, even if such non-
 Debtor party has sold, assigned, or otherwise transferred such Executory Contract or Unexpired Lease or
 its Claim thereunder.

           8.3.      Claims Based on Rejection of Executory Contracts and Leases

                  (a)     Unless otherwise provided by an order of the Bankruptcy Court, any proofs           of
 claim based on the rejection of any Executory Contract or Unexpired Lease pursuant to the Plan               or
 otherwise must be filed with Bankruptcy Court and served on the Debtors or Reorganized Debtors,              as
 applicable, no later than 30 days after the later of the Effective Date or the effective date of rejection   of
 such Executory Contract or Unexpired Lease.

                  (b)     Claims arising from the rejection of Executory Contracts and Unexpired Leases,
 to the extent Allowed, shall be Other General Unsecured Claims in Class 6-B.

                   (c)      Each holder of a Claim arising from the rejection of an Executory Contract or
 Unexpired Lease for which a proof of claim was not timely filed as set forth in Section 8.3(a) above shall
 not be treated as a creditor with respect to such Claim, and any such Claim will be automatically Disallowed
 without the need for any objection or further notice to, or action, order, or approval of the Bankruptcy Court.

                   (d)    The Confirmation Order shall constitute the Bankruptcy Court’s approval of the
 rejection of all Executory Contracts and Unexpired Leases identified on the Schedule of Rejected Contracts
 and Leases, to the extent not already rejected by prior orders of the Bankruptcy Court.



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           8.4.      Contracts and Leases Entered into After the Petition Date

                 Contracts and leases entered into after the Petition Date by any Debtor and any Executory
 Contracts and Unexpired Leases assumed by any Debtor, will be performed by the applicable Debtor or
 Reorganized Debtor in the ordinary course of its business. Accordingly, such contracts and leases will
 remain unaffected by entry of the Confirmation Order and the occurrence of the Effective Date.

           8.5.      Modifications, Amendments, Supplements, Restatements, or Other Agreements

                 (a)     Unless otherwise provided in the Plan, each assumed Executory Contract or
 Unexpired Lease shall include all modifications, amendments, supplements, restatements, or other
 agreements that in any manner affect such Executory Contract or Unexpired Lease, including any
 easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
 interests.

                  (b)     Unless otherwise provided in an order entered by the Bankruptcy Court,
 modifications, amendments, supplements, and restatements to Executory Contracts and Unexpired Leases
 executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the prepetition nature of
 such Executory Contracts or Unexpired Leases, or the validity, priority, or amount of any Claims that may
 arise in connection therewith.

           8.6.      Survival of the Debtors’ Indemnification Obligations

                  Any obligations of the Debtors pursuant to their corporate charters, bylaws, limited liability
 company agreements, or other organizational documents to indemnify current and former officers,
 directors, agents, or employees with respect to all present and future actions, suits, and proceedings against
 the Debtors or such directors, officers, agents, or employees, based upon any act or omission for or on
 behalf of the Debtors, shall not be discharged or impaired by confirmation of the Plan. All such obligations
 shall be deemed and treated as Executory Contracts to be assumed by the Debtors under the Plan and shall
 continue as obligations of the Reorganized Debtors. Any Claim based on such obligations shall not be a
 Disputed Claim or subject to any objection by reason of section 502(e)(1)(B) of the Bankruptcy Code. The
 Debtors and the Reorganized Debtors, as applicable, shall not amend or restate their respective governance
 documents before or after the Effective Date to terminate or adversely affect any obligations to provide
 such indemnification rights or such directors’, officers’, employees’, or agents’ indemnification rights.

           8.7.      Insurance Policies

                   All insurance policies (including all directors’ and officers’ insurance policies, any
 extended discovery provisions thereunder, and tail coverage liability insurance policies) pursuant to which
 any Debtor has any obligations in effect as of the date of the Confirmation Order shall be deemed and
 treated as Executory Contracts under the Plan and shall be assumed by, and vest in, the applicable
 Reorganized Debtors and shall continue in full force and effect thereafter in accordance with their respective
 terms. All members, managers, directors, and officers who served in such capacity at any time before the
 Effective Date shall be entitled to the full benefits of any directors’ and officers’ insurance policies
 (including any “tail policy” and extended discovery provisions of any insurance policies) for the full term
 of such policies regardless of whether such members, managers, directors, and/or officers remain in such
 positions after the Effective Date, in each case, to the extent set forth in such policies.




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           8.8.      Intellectual Property Licenses and Agreements

                  All intellectual property contracts, licenses, royalties, or other similar agreements under
 which the Debtors have any rights or obligations as of the date of the Confirmation Order shall be deemed
 and treated as Executory Contracts under the Plan, shall be assumed by, and vest in, the applicable
 Reorganized Debtors on the Effective Date, and shall continue in full force and effect unless any such
 intellectual property contract, license, royalty, or other similar agreement is rejected pursuant to a separate
 order of the Bankruptcy Court or is the subject of a separate rejection motion filed by the Debtors in
 accordance with Section 8.1 of the Plan. The Reorganized Debtors may take all actions as may be necessary
 or appropriate to ensure the vesting of such intellectual property contracts, licenses, royalties, or other
 similar agreements as contemplated herein.

           8.9.      Employee Compensation and Benefits

                  Except as listed in the Schedule of Rejected Contracts and Leases, all Benefit Plans and
 Employee Arrangements shall be treated as Executory Contracts under the Plan and deemed assumed on
 the Effective Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code. The
 Reorganized Debtors shall honor, in the ordinary course of business, Claims of employees employed as of
 the Effective Date for accrued vacation time arising before the Petition Date and not otherwise paid pursuant
 to a Bankruptcy Court order. Any assumption of the Benefit Plans and Employee Arrangements hereunder
 shall not trigger any applicable change of control, immediate vesting, termination, or similar provisions
 therein. No participant shall have rights under the Benefit Plans and Employee Arrangements assumed
 pursuant to the Plan other than those existing immediately before such assumption.

           8.10.     Assignment

                  To the extent any Executory Contract or Unexpired Lease is transferred or assigned
 hereunder, it shall remain in full force and effect for the benefit of the transferee or assignee in accordance
 with its terms, notwithstanding any provision in such Executory Contract or Unexpired Lease (including,
 those of the type set forth in section 365(b)(2) of the Bankruptcy Code) that prohibits, restricts, or conditions
 such transfer or assignment. Any provision that prohibits, restricts, or conditions the assignment or transfer
 of any such Executory Contract or Unexpired Lease or that terminates or modifies such Executory Contract
 or Unexpired Lease or allows the counterparty to such Executory Contract or Unexpired Lease to terminate,
 modify, recapture, impose any penalty, condition renewal or extension, or modify any term or condition
 upon any such transfer and assignment, constitutes an unenforceable anti-assignment provision and is void
 and of no force or effect.

           8.11.     Reservation of Rights

                   (a)     Neither the exclusion nor inclusion of any contract or lease on any exhibit,
 schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the Plan, will
 waive, exclude, limit, dismiss or otherwise alter any of the defenses, claims, causes of action, or other rights
 of the Debtors or Reorganized Debtors to subsequently argue that such contract or lease is or is not in fact
 an Executory Contract or Unexpired Lease or that the Debtors or the Reorganized Debtors or their
 respective affiliates do not have any liability thereunder.

                  (b)     Except as otherwise provided in the Plan, nothing in the Plan shall waive, excuse,
 limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the
 Debtors and the Reorganized Debtors under any executory or non-executory contract or any unexpired or
 expired lease.



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                   (c)     Nothing in the Plan shall increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtors or the Reorganized Debtors under any executory or non-
 executory contract or any unexpired or expired lease.

                 (d)      If there is a dispute regarding whether a contract or lease is or was executory or
 unexpired at the time of its assumption under the Plan, the Debtors shall have 60 days following entry of a
 Final Order resolving such dispute to alter the proposed treatment of such contract or lease.

                               ARTICLE IX          CONDITIONS PRECEDENT

           9.1.      Conditions Precedent to Confirmation of the Plan

                     The following are conditions precedent to confirmation of the Plan:

                 (a)     the Bankruptcy Court shall have entered an order approving the Disclosure
 Statement as containing adequate information with respect to the Plan within the meaning of section 1125
 of the Bankruptcy Code;

                (b)      the proposed Confirmation Order shall be consistent with the Transaction Support
 Agreement and otherwise in form and substance reasonably satisfactory to the Debtors, the Requisite
 Consenting Support Parties, the Required DIP Lenders, the DIP Agent, the Exit ABL Agent, and the Exit
 Term Agent; provided that the Debtors will also consult in good faith with the ABL Agent regarding the
 form and substance of the Confirmation Order; and

                (c)     the Backstop Commitment Letter and the Transaction Support Agreement shall not
 have been terminated by the parties thereto and shall be in full force and effect and binding on all parties
 thereto.

           9.2.      Conditions Precedent to Effective Date

                 The occurrence of the Effective Date will be subject to the following conditions precedent,
 among others; provided that any condition can be waived with the prior written consent of the Debtors and
 the Requisite Consenting Support Parties:
                 (a)      the Transaction Support Agreement shall not have been terminated by the parties
 thereto and remains in full force and effect and binding on the parties thereto;

                 (b)     the Bankruptcy Court shall have entered the Confirmation Order consistent with
 the Transaction Support Agreement and the Confirmation Order shall not have been stayed;

                  (c)      the Definitive Documents shall be consistent with the Transaction Support
 Agreement and otherwise approved by the parties thereto consistent with their respective consent and
 approval rights as set forth in the Transaction Support Agreement;

                  (d)     all actions, documents, and agreements necessary to implement and consummate
 the Plan shall have been performed or executed, as applicable;

                 (e)    the Bankruptcy Court shall have entered the Final DIP Order, the DIP Loan
 Documents shall be in full force and effect in accordance with their terms, the DIP Termination Date (as
 defined in the DIP Orders) shall not have occurred, no Event of Default (as defined in the DIP Loan
 Documents) shall have occurred or be continuing, and the obligations outstanding under the DIP Credit
 Agreement shall not have been accelerated in accordance with the terms thereof;


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                 (f)     all documentation related to the Exit ABL Facility shall have been executed and
 delivered by each party thereto, and any conditions precedent related thereto shall have been satisfied or
 waived;

                  (g)     all documentation related to the New Term Credit Agreement shall have been
 executed and delivered by each party thereto, and any conditions precedent related thereto shall have been
 satisfied or waived; provided that the DIP Lenders shall be deemed to have executed and delivered the New
 Term Credit Agreement in accordance with the terms of the DIP Credit Agreement;

                 (h)      all conditions precedent to the issuance of the New Common Shares, other than
 the occurrence of the Effective Date, shall have occurred;

               (i)      the New Equity Allocation and New Warrants shall have been issued to the
 Consenting Support Parties in accordance with the Transaction Support Agreement;

                 (j)     the organizational documents and bylaws for Reorganized Chinos Holdings will
 be adopted on terms consistent with the Transaction Support Agreement and otherwise in form and
 substance reasonably satisfactory to the Debtors and the Requisite Consenting Support Parties;

                  (k)          the Backstop Commitment Letter shall not have been terminated and remains in
 full force and effect;

                 (l)           the Professional Fee Escrow Account shall have been established and funded as
 provided herein;

                 (m)      all fees and expenses owed pursuant to the Transaction Support Agreement or the
 DIP Order, including all Ad Hoc Committee Fees, to the extent unpaid and invoiced at least two business
 days before the Effective Date, shall have been paid by the Debtors or the Reorganized Debtors;

                  (n)     all governmental and third-party approvals and consents, including Bankruptcy
 Court approval, necessary in connection with the transactions contemplated by the Transaction Support
 Agreement shall have been obtained, not be subject to unfulfilled conditions, and be in full force and effect,
 and all applicable waiting periods shall have expired without any action being taken or threatened by any
 competent authority that would restrain, prevent or otherwise impose materially adverse conditions on such
 transactions; and

                  (o)      all other actions, documents, and agreements necessary to implement and
 effectuate the Plan shall have been performed or executed, as applicable.

           9.3.      Satisfaction or Waiver of Conditions Precedent

                 (a)     Except as otherwise provided herein, all actions required to be taken on the
 Effective Date shall take place and shall be deemed to have occurred simultaneously and no such action
 shall be deemed to have occurred before the taking of any other such action. No leave or order of the
 Bankruptcy Court shall be required for the waiver by the Debtors, with the prior written consent of the
 Requisite Consenting Support Parties, of any condition precedent set forth in Section 9.1 of the Plan, except
 the condition precedent set forth in Section 9.1(a), in accordance with the terms thereof.

                 (b)      The Confirmation Order shall contain a waiver of any stay of enforcement
 otherwise applicable, including pursuant to Bankruptcy Rule 3020(e), 6004(h), and 7062.



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           9.4.      Effect of Failure of a Condition

                  If the Effective Date does not occur, then (a) the Plan shall be null and void in all respects,
 (b) any settlement or compromise embodied in the Plan, assumption of Executory Contracts or Unexpired
 Leases effected under the Plan, and document or agreement executed pursuant to the Plan shall be deemed
 null and void, and (c) nothing contained in the Plan or the Disclosure Statement shall (i) constitute a waiver
 or release of any Claim or Interest or any claims or Causes of Action by the Debtors, (ii) prejudice in any
 manner the rights of any Entity, or (iii) constitute any admission, acknowledgement, offer, or undertaking
 by the Debtors, any of the Consenting Support Parties, or any other Entity.

                        ARTICLE X           EFFECT OF CONFIRMATION OF PLAN.

           10.1.     Vesting of Assets

                   On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all
 assets and property of the Debtors’ Estates shall vest in the Reorganized Debtors, free and clear of all
 Claims, Liens, encumbrances, charges, and other interests, except as provided in the Plan or the
 Confirmation Order. On and after the Effective Date, the Reorganized Debtors may take any action,
 including, the operation of their businesses; the use, acquisition, sale, lease and disposition of property; and
 the entry into transactions, agreements, understandings, or arrangements, whether in or other than in the
 ordinary course of business, and execute, deliver, implement, and fully perform any and all obligations,
 instruments, documents, and papers or otherwise in connection with any of the foregoing, free of any
 restrictions of the Bankruptcy Code or Bankruptcy Rules and in all respects as if there were no pending
 cases under the Bankruptcy Code, except as expressly provided herein.

           10.2.     Binding Effect

                   As of the Effective Date, the Plan shall bind (a) all Entities that are parties to or are subject
 to the settlements, compromises, releases, discharges, and injunctions described in the Plan, (b) each Entity
 acquiring property under the Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
 Leases, (c) all parties to the Transaction Support Agreement, and (d) all holders of Claims and Interests and
 their respective successors and assigns, notwithstanding whether any such holders were (i) Impaired or
 Unimpaired under the Plan, (ii) deemed to accept or reject the Plan, (iii) failed to vote to accept or reject
 the Plan, or (iv) voted to reject the Plan.

           10.3.     Compromise and Settlement of Claims, Interests, and Controversies

                  (a)     Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, in
 consideration for the classification, distributions, releases, and other benefits provided under the Plan, the
 provisions of the Plan shall constitute a good-faith compromise and settlement of all Claims, Interests, and
 controversies released, settled, compromised, discharged, or otherwise resolved pursuant to the Plan.

                  (b)     The Plan shall be deemed a motion to approve the good-faith compromise and
 settlement of all such Claims, Interests, Causes of Action, and controversies pursuant to Bankruptcy Rule
 9019, and the entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
 to Bankruptcy Rule 9019, of the compromise or settlement of all such Claims, Interests, and controversies,
 as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of
 the Debtors, their Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable. The
 compromises, settlements, and releases described herein shall be deemed nonseverable from one another
 and from all other provisions of the Plan.



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           10.4.     Discharge of Claims and Termination of Interests

                   Upon the Effective Date, in consideration of the distributions to be made hereunder, except
 as otherwise expressly provided herein, each holder (as well as any representatives, trustees, or agents on
 behalf of each holder) of a Claim or Interest and any affiliate of such holder shall be deemed to have forever
 waived, released, and discharged the Debtors, to the fullest extent permitted by section 1141 of the
 Bankruptcy Code, of and from any and all Claims, Interests, rights, and liabilities that arose before the
 Effective Date. Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code
 and except as otherwise specifically provided in the Plan, the distributions, rights, and treatment provided
 in the Plan shall be in full and final satisfaction, settlement, release, and discharge, effective as of the
 Effective Date, of all Interests and Claims of any nature whatsoever, including (unless otherwise
 specifically provided herein) any interest accrued on Claims from and after the Petition Date, whether
 known or unknown, regardless of whether any property shall have been distributed or retained pursuant to
 the Plan on account of such Claims or Interests, including demands, liabilities, and Causes of Action that
 arose before the Effective Date, any contingent or non-contingent liability on account of representations or
 warranties issued on or before the Effective Date, and all debts of the kind specified in sections 502(g),
 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (a) a proof of claim or interest is
 filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest is Allowed;
 or (c) the holder of such Claim or Interest has accepted the Plan. The Confirmation Order shall be a judicial
 determination, subject to the Effective Date occurring, of the discharge of all Claims and Interests except
 as otherwise expressly provided in the Plan. Upon the Effective Date, all holders of Interests and Claims
 of any nature whatsoever shall be forever precluded and enjoined, pursuant to section 524 of the Bankruptcy
 Code, from prosecuting or asserting any such discharged Claim or terminated Interest against the Debtors,
 the Reorganized Debtors, or any of their assets or property, whether or not such holder has filed a proof of
 claim and whether or not the facts or legal bases therefor were known or existed before the Effective Date.

           10.5.     Term of Injunctions or Stays

                   Unless otherwise provided herein, in the Confirmation Order, or in another Final Order of
 the Bankruptcy Court, all injunctions or stays arising or issued under section 105 or 362 of the Bankruptcy
 Code or otherwise, and in existence on the Confirmation Date, shall remain in full force and effect until the
 later of the Effective Date and the date indicated in the order providing for such injunction or stay.

           10.6.     Injunction

                 (a)     Upon entry of the Confirmation Order, all holders of Claims and Interests
 and other parties in interest, along with their respective present or former employees, agents, officers,
 directors, principals, and affiliates, shall be enjoined from taking any actions to interfere with the
 implementation or consummation of the Plan.

                 (b)      Except as expressly provided in the Plan, the Confirmation Order, or another
 order of the Bankruptcy Court or agreed to by the Debtors and a holder of a Claim or Interest, all
 Entities who have held, hold, or may hold Claims or Interests (whether or not proof of such claims
 or interests has been filed and whether or not such Entities voted for or against the Plan or abstained
 from voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan) and
 other parties in interest, along with their respective present or former employees, agents, officers,
 directors, principals, and affiliates are permanently enjoined, on and after the Effective Date, solely
 with respect to the Claims, Interests, and Causes of Action that are extinguished, discharged, or
 released pursuant to the Plan, from (i) commencing, conducting, or continuing in any manner,
 directly or indirectly, any suit, action, or other proceeding of any kind (including, any proceeding in
 a judicial, arbitral, administrative or other forum) against or affecting the Released Parties or the


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 property of any of the Released Parties, (ii) enforcing, levying, attaching (including any prejudgment
 attachment), collecting, or otherwise recovering by any manner or means, whether directly or
 indirectly, any judgment, award, decree, or order against the Released Parties or the property of any
 of the Released Parties, (iii) creating, perfecting, or otherwise enforcing in any manner, directly or
 indirectly, any encumbrance of any kind against the Released Parties or the property of any of the
 Released Parties, (iv) asserting any right of setoff, directly or indirectly, against any obligation due
 the Released Parties or the property of any of the Released Parties, except as contemplated by the
 Plan, and (v) acting in any manner that does not conform to or comply with the provisions of the Plan
 or the Confirmation Order.

                 (c)     By accepting distributions under the Plan, each holder of an Allowed Claim
 extinguished, discharged, or released pursuant to the Plan shall be deemed to have affirmatively and
 specifically consented to be bound by the Plan, including the injunctions set forth in this Section 10.6.

               (d)    The injunctions in this Section 10.6 shall extend to any successors of the
 Debtors and the Reorganized Debtors and their respective property and interests in property.

           10.7.     Releases

                     (a)       Releases by Debtors

                  As of the Effective Date, for good and valuable consideration, on and after the
 Effective Date, the Released Parties shall be deemed to be conclusively, absolutely, unconditionally,
 irrevocably, and forever released and discharged by the Debtors, their Estates, the Reorganized
 Debtors, and any Entity seeking to exercise the rights of the foregoing, including any successors to
 the Debtors or any estate representatives appointed or selected pursuant to section 1123(b)(3) of the
 Bankruptcy Code, from any and all claims, obligations, rights, suits, judgments, damages, demands,
 debts, rights, Causes of Action, remedies, losses, and liabilities whatsoever, including any derivative
 claims, asserted or assertable on behalf of the Debtors, their Estates, or the Reorganized Debtors,
 whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or
 unmatured, contingent or fixed, existing or hereinafter arising, in law, equity or otherwise, that the
 Debtors, their Estates, the Reorganized Debtors, or their affiliates would have been legally entitled
 to assert in their own right (whether individually or collectively) or on behalf of the holder of any
 Claim or Interest or other Entity, based on or relating to, or in any manner arising from, in whole or
 in part, the Debtors, their Estates, the formation, operation, and conduct of the Debtors’ businesses,
 the Chapter 11 Cases, the acquisition, purchase, sale, or rescission of the purchase or sale of any debt
 or security of the Debtors or the Reorganized Debtors (including the New Equity Allocation and the
 New Warrants), the subject matter of, or the transactions or events giving rise to, any Claim or
 Interest, the business or contractual arrangements between the Debtors and any Released Party, the
 Debtors’ restructuring, the restructuring of any Claim or Interest before or during the Chapter 11
 Cases (including the restructuring of the IPCo Notes Claims notwithstanding the separate nature of
 the IPCo Indentures or the IPCo Intercreditor Agreement), the DIP Order, the Disclosure Statement,
 the Transaction Support Agreement, the New Term Loan, the Backstop Commitment, the Backstop
 Commitment Letter, the Plan, the Plan Supplement and other related agreements, instruments, and
 documents related to the foregoing (including the Definitive Documents), and the negotiation,
 formulation, or preparation thereof, the solicitation of votes on the Plan, or any other act or omission,
 in all cases based upon any act or omission, transaction, agreement, event, or other occurrence taking
 place on or before the Effective Date, including all Claims and Causes of Action under chapter 5 of
 the Bankruptcy Code or any other Avoidance Actions under the Bankruptcy Code or applicable
 federal or state law, including any preference or fraudulent transfer Claims or Causes of Action;
 provided that nothing in this release shall be construed to release any post-Effective Date obligations


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 of any Entity under the Plan, the Transaction Support Agreement, or any document, instrument, or
 agreement (including those set forth in the Plan Supplement) executed to implement the Plan.

                     (b)       Consensual Releases by Holders of Claims and Interests

                As of the Effective Date, for good and valuable consideration, on and after the
 Effective Date, each of the Released Parties shall be deemed to be conclusively, absolutely,
 unconditionally, irrevocably, and forever released and discharged by:
                            i. the other Released Parties;

                           ii. the holders of Impaired Claims who voted to accept the Plan;

                           iii. the holders of Impaired Claims who abstained from voting on the Plan or
                                voted to reject the Plan but did not opt-out of these releases on their ballots;

                           iv. the holders of Unimpaired Claims and Interests in Classes 1, 2, 3, 7, and 9 that
                               are presumed to accept the Plan but do not timely opt-out of the releases by
                               completing a written opt-out form; and

                           v. the holders of Impaired Claims and Interests in Classes 8, 10-A, and 10-B,
                              that are deemed to reject the Plan but do not timely opt-out of the releases by
                              completing a written opt-out form;

 and with respect to any Entity in the foregoing clauses (i) through (iv), (a) such Entity’s predecessors,
 successors, and assigns, and (b) all Entities entitled to assert Claims through or on behalf of such
 Entities with respect to the matters to which these releases apply, in each case, from any and all
 claims, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever,
 including any derivative claims, asserted or assertable on behalf of a Debtor, whether known or
 unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, contingent or
 fixed, existing or hereinafter arising, in law, equity or otherwise, that such Entity would have been
 legally entitled to assert in its own right (whether individually or collectively) based on or relating to,
 or in any manner arising from, in whole or in part, the Debtors and their Estates, the formation,
 operation, and conduct of the Debtors’ businesses, the Chapter 11 Cases, the acquisition, purchase,
 sale, or rescission of the purchase or sale of any debt or security of the Debtors or the Reorganized
 Debtors (including the New Equity Allocation and New Warrants), the subject matter of, or the
 transactions or events giving rise to, any Claim or Interest, the business or contractual arrangements
 between the Debtors and any Released Party, the Debtors’ restructuring (including the restructuring
 of the IPCo Notes Claims notwithstanding the separate nature of the IPCo Indentures or the IPCo
 Intercreditor Agreement), the restructuring of any Claim or Interest before or during the Chapter
 11 Cases, the DIP Order, the Disclosure Statement, the Transaction Support Agreement, the New
 Term Loan, the Backstop Commitment, the Backstop Commitment Letter, the Plan, the Plan
 Supplement, and related agreements, instruments, and other documents (including the Definitive
 Documents), and the negotiation, formulation, or preparation thereof, the solicitation of votes on the
 Plan, or any other act or omission, in all cases based upon any transaction, agreement, event, or other
 occurrence taking place on or before the Effective Date, including all Claims and Causes of Action
 under chapter 5 of the Bankruptcy Code or any other Avoidance Actions under the Bankruptcy Code
 or applicable federal or state law, including any preference or fraudulent transfer Claims or Causes
 of Action; provided that nothing in this release shall be construed to release any post-Effective Date
 obligations of any Entity under the Plan, the Transaction Support Agreement, or any document,
 instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
 the Plan.

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                  (c)     Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
 approval, pursuant to Bankruptcy Rule 9019, of the compromises memorialized in the releases set
 forth herein, and shall constitute the Bankruptcy Court’s finding that the releases set forth in the
 Plan are: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for good
 and valuable consideration provided by the Released Parties, including the Released Parties’
 contributions to facilitating the restructuring and implementing the Plan; (d) a good faith settlement
 and compromise of the claims released; (e) in the best interests of the Debtors and their Estates;
 (f) fair, equitable, and reasonable; and (g) given and made after due notice and opportunity for
 hearing.

           10.8.     Exculpation

                  Notwithstanding anything herein to the contrary, and to the maximum extent
 permitted by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is
 hereby released and exculpated from, any claim, obligation, suit, judgment, damage, demand, debt,
 right, cause of action, remedy, loss, and liability for any claim in connection with or arising out of the
 administration of the Chapter 11 Cases, the formulation, preparation, and pursuit of the Disclosure
 Statement, the Transaction Support Agreement, the transactions relating to the Debtors’
 restructuring, the Plan (including the Plan Supplement), the solicitation of votes for, or confirmation
 of, the Plan, the funding or consummation of the Plan, the Definitive Documents, or any related
 agreements, instruments, or other documents, the offer, issuance, and distribution of any securities
 issued or to be issued pursuant to the Plan, whether or not such distribution occurs following the
 Effective Date, the occurrence of the Effective Date, negotiations regarding or concerning any of the
 foregoing, or the administration of the Plan or property to be distributed under the Plan, except for
 actions determined to constitute gross negligence, willful misconduct, or intentional fraud as
 determined by a Final Order by a court of competent jurisdiction. This exculpation shall be in
 addition to, and not in limitation of, all other releases, indemnities, exculpations and any other
 applicable law or rules protecting the Exculpated Parties from liability.

           10.9.     Retention of Causes of Action/Reservation of Rights

                  Except as otherwise provided in Section 10.7(a) of the Plan, nothing contained in the Plan
 or the Confirmation Order shall be deemed to be a waiver or relinquishment of any rights, claims, Causes
 of Action, rights of setoff or recoupment, or other legal or equitable defenses that the Debtors had
 immediately before the Effective Date on behalf of the Estates or themselves in accordance with any
 provision of the Bankruptcy Code or any applicable nonbankruptcy law, including any affirmative Causes
 of Action against any parties other than the Released Parties. The Reorganized Debtors shall have, retain,
 reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff or recoupment, and other
 legal or equitable defenses as fully as if the Chapter 11 Cases had not been commenced, and all of the
 Debtors’ legal and equitable rights in respect of any Unimpaired Claim may be asserted after the Effective
 Date to the same extent as if the Chapter 11 Cases had not been commenced. Notwithstanding the
 foregoing, the Debtors and the Reorganized Debtors shall not retain any claims or Causes of Action against
 any of the Released Parties released pursuant to the Plan (except that such claims or Causes of Action may
 be asserted as a defense to a Claim in connection with the claims reconciliation procedures).

           10.10. Ad Hoc Committee and Indenture Trustee Fees

                 On the Effective Date, the Debtors shall pay all Ad Hoc Committee Fees and Indenture
 Trustee Fees in cash to the extent not already paid by the Debtors subject to receipt by the Debtors of an
 invoice from any Entity entitled to Ad Hoc Committee Fees or Indenture Trustee Fees and in accordance
 with the applicable engagement letter, the applicable governing documents, or as otherwise agreed between


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 the Debtors and such Entity. On and after the Effective Date, the Debtors or the Reorganized Debtors, as
 applicable, shall pay all Ad Hoc Committee Fees and Indenture Trustee Fees in cash, to the extent not
 already paid by the Debtors, in each case, within ten business days of receipt by the Debtors or the
 Reorganized Debtors, as applicable, of an invoice from any Entity entitled to Ad Hoc Committee Fees or
 Indenture Trustee Fees for any unpaid fees in accordance with the applicable engagement letter, the
 applicable governing documents, or as otherwise agreed between the Debtors or Reorganized Debtors, as
 applicable, and such Entity.

                               ARTICLE XI         RETENTION OF JURISDICTION.

           11.1.     Retention of Jurisdiction

                   Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
 Date, the Bankruptcy Court shall retain non-exclusive jurisdiction over all matters arising under, or arising
 in, or relating to these Chapter 11 Cases to the fullest extent legally permissible by 28 U.S.C. § 1334 to
 hear, and by 28 U.S.C. § 157 to determine, all proceedings in respect thereof, including, without limitation,
 for the following purposes:

                (a)     to hear and determine matters relating to the assumption or rejection of Executory
 Contracts or Unexpired Leases, including Assumption Disputes, and the allowance, classification, priority,
 compromise, estimation, or payment of Claims resulting therefrom;

                (b)   to determine any motion, adversary proceeding, application, and contested matter
 pending on or commenced after the Confirmation Date, including any proceeding with respect to a Cause
 of Action;

                   (c)     to ensure that distributions to holders of Allowed Claims are accomplished as
 provided for in the Plan and the Confirmation Order and to adjudicate any and all disputes arising from or
 relating to distributions under the Plan;

                   (d)      to resolve disputes concerning Disputed Claims and consider the allowance,
 classification, priority, compromise, estimation, secured or unsecured status, amount, or payment of any
 Claim, including any Administrative Expense Claims, including any dispute over the application to any
 Claim of any limitation on its allowance set forth in sections 502 or 503 of the Bankruptcy Code or asserted
 under non-bankruptcy law pursuant to section 502(b)(1) of the Bankruptcy Code;

                (e)      to enter, implement, or enforce such orders as may be appropriate if the
 Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

                 (f)     to issue injunctions, enter and implement other orders, and take such other actions
 as may be necessary or appropriate to restrain interference with the consummation, implementation, or
 enforcement of the Plan, the Confirmation Order, and any other order of the Bankruptcy Court;

                  (g)      to hear and determine any application to modify the Plan in accordance with
 section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any inconsistency in
 the Plan, the Disclosure Statement, or any order of the Bankruptcy Court, including the Confirmation Order;

                     (h)       to hear and determine all Professional Fee Claims;

                (i)      to hear and determine disputes arising in connection with the interpretation,
 implementation, or enforcement of the Plan, the Plan Supplement, the Confirmation Order, any transactions


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 or payments contemplated herein, or any agreement, instrument, or other document governing or relating
 to any of the foregoing, including, without limitation, the Transaction Support Agreement and the Backstop
 Commitment Letter; provided, for the avoidance of doubt, that any dispute arising after the Effective Date
 under or with respect to the Exit Facility Documents, the New Organizational Documents, or any other
 documents entered into by the Reorganized Debtors shall be adjudicated in accordance with the terms of
 such documents;

                (j)     to take any action and issue such orders as may be necessary to construe, interpret,
 enforce, implement, execute, and consummate the Plan;

                (k)      to determine such other matters and for such other purposes as may be provided in
 the Confirmation Order;

                 (l)     to hear and determine matters concerning state, local, and federal taxes in
 accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for expedited
 determinations under section 505(b) of the Bankruptcy Code);

                  (m)      to hear, adjudicate, decide, or resolve any and all matters related to Article X of
 the Plan, including, the releases, discharge, exculpations, and injunctions issued thereunder;

                     (n)       to enforce all orders previously entered by the Bankruptcy Court;

                 (o)      to hear and determine any other matters related hereto and not inconsistent with
 the Bankruptcy Code and title 28 of the United States Code, including in connection with or related to the
 Plan, the Disclosure Statement, the Confirmation Order, the Plan Supplement, or any document related to
 the foregoing;

                     (p)       to enter a final decree closing the Chapter 11 Cases;

                     (q)       to recover all assets of the Debtors and property of the Debtors’ Estates, wherever
 located;

                 (r)      to hear and determine any rights, Claims, or Causes of Action held by or accruing
 to the Debtors pursuant to the Bankruptcy Code or pursuant to any federal statute or legal theory; and

                     (s)       to hear any other matter not inconsistent with the Bankruptcy Code.

            11.2.    Courts of Competent Jurisdiction

                  If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
 otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or failure of
 jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
 any other court having competent jurisdiction with respect to such matter.

                               ARTICLE XII        MISCELLANEOUS PROVISIONS.

            12.1.    Substantial Consummation of the Plan

                 On the Effective Date, the Plan shall be deemed to be substantially consummated under
 sections 1101 and 1127(b) of the Bankruptcy Code.




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           12.2.     Expedited Determination of Taxes

                 The Reorganized Debtors shall have the right to request an expedited determination under
 section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable
 periods of the Debtors through the Effective Date.

           12.3.     Dissolution of Committees

                  On the Effective Date, the Creditors’ Committee and any other official committees
 appointed in these Chapter 11 Cases will dissolve; provided that, after the Effective Date, the Creditors’
 Committee shall continue in existence and have standing and a right to be heard for the following limited
 purposes: (a) Professional Fee Claims or applications filed by the committee, and any relief related thereto,
 for compensation by Professionals and requests for allowance of Administrative Expense Claims for
 substantial contribution pursuant to section 503(b)(3)(D) of the Bankruptcy Code; and (b) any appeals of
 the Confirmation Order or other appeal to which the committee is a party. Upon the dissolution of the
 Creditors’ Committee, the Creditors’ Committee, its members, and the Committee’s Professionals will
 cease to have any duty, obligation, or role arising from or related to these Chapter 11 Cases and shall be
 released and discharged from all rights and duties from or related to these Chapter 11 Cases.

           12.4.     Exemption from Certain Transfer Taxes

                   Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange of
 any securities or instruments hereunder, (b) the creation, filing or recording of any Lien, mortgage, deed of
 trust, or other security interest, (c) the making, assignment, filing or recording of any lease or sublease or
 the making or delivery of any deed, bill of sale, or other instrument of transfer under, pursuant to, in
 furtherance of, or in connection with the Plan, including, without limitation, any deeds, bills of sale, or
 assignments executed in connection with any of the transactions contemplated under the Plan or the
 reinvesting, transfer, or sale of any real or personal property of the Debtors pursuant to, in implementation
 of or as contemplated in the Plan (whether to one or more of the Reorganized Debtors or otherwise), (d) the
 grant of Collateral under the Exit Facility Documents, (e) any assumption, assignment, or sale of interests
 in Unexpired Leases or Executory Contracts pursuant to section 365 of the Bankruptcy Code and (f) the
 issuance, renewal, modification, or securing of indebtedness in furtherance of, or in connection with, the
 Plan, including the Confirmation Order, and in each case whether by the Debtors or the Reorganized
 Debtors, shall constitute a “transfer under a plan” within the purview of section 1146 of the Bankruptcy
 Code and shall not be subject to or taxed under any law imposing any document recording tax, stamp tax,
 conveyance fee, or other similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform
 Commercial Code filing or recording fee, regulatory filing or recording fee, sales tax, use tax, or other
 similar tax or governmental assessment. Consistent with the foregoing, each recorder of deeds or similar
 official for any county, city, or Governmental Entity in which any such instrument is to be recorded shall
 be ordered and directed to accept such instrument without requiring the payment of any filing fees,
 documentary stamp tax, deed stamps, stamp tax, transfer tax, intangible tax, or similar tax.

           12.5.     Modifications and Amendments

                   (a)     Subject to the terms of the Transaction Support Agreement, (i) the Debtors reserve
 the right, in accordance with the Bankruptcy Code and the Bankruptcy Rules, to amend, modify or
 supplement the Plan before the entry of the Confirmation Order, including amendments or modifications
 to satisfy section 1129(b) of the Bankruptcy Code and (ii) after entry of the Confirmation Order, the Debtors
 may, upon order of the Bankruptcy Court, amend, modify, or supplement the Plan in the manner provided
 for by section 1127 of the Bankruptcy Code or as otherwise permitted by law, in each case without



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 additional disclosure pursuant to section 1125 of the Bankruptcy Code, except as the Bankruptcy Code may
 otherwise direct.

                  (b)      Subject to the Transaction Support Agreement, after the Confirmation Date, so
 long as such action does not materially adversely affect the treatment of holders of Claims or Interests
 hereunder, the Debtors may remedy any defect or omission or reconcile any inconsistencies in the Plan or
 the Confirmation Order with respect to such matters as may be necessary to carry out the purposes and
 effects of the Plan, and any holder of a Claim that has accepted the Plan shall be deemed to have accepted
 the Plan as amended, modified, or supplemented. Before the Effective Date, the Debtors may make
 appropriate technical adjustments and modifications to the Plan and the documents contained in the Plan
 Supplement without further order or approval of the Bankruptcy Court; provided, that such technical
 adjustments and modifications do not adversely affect in a material way the treatment of holders of Claims
 or Interests and that any such technical adjustment or modification is consistent with the Transaction
 Support Agreement.

                   (c)      Entry of the Confirmation Order shall mean that all modifications or amendments
 to the Plan since the solicitation of votes thereon are approved pursuant to section 1127(a) of the Bankruptcy
 Code and do not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

           12.6.     Revocation or Withdrawal of Plan

                   Subject to the terms of the Transaction Support Agreement, the Debtors reserve the right
 to revoke or withdraw the Plan before the Effective Date as to any or all of the Debtors. If, subject to any
 consent required under the Transaction Support Agreement, the Plan has been revoked or withdrawn with
 respect to any Debtor before the Effective Date, then, with respect to such Debtor: (a) the Plan shall be null
 and void in all respects; (b) any settlement or compromise embodied in the Plan (including the fixing of or
 limiting an amount of any Claim or Interest or Class of Claims or Interests), assumption of Executory
 Contracts or Unexpired Leases affected by the Plan, and any document or agreement executed pursuant to
 the Plan shall be deemed null and void; and (c) nothing contained in the Plan shall (i) constitute a waiver
 or release of any Claim against, or Interest in, such Debtor (ii) constitute a waiver or release of any claim
 of any other Entity, (iii) prejudice in any manner the rights of such Debtor or any other Entity, or
 (iii) constitute an admission of any sort with respect to such Debtors by any other Debtor, any Consenting
 Support Party, or any other Entity.

           12.7.     Severability of Plan Provisions

                  If, before the entry of the Confirmation Order, any term or provision of the Plan is held by
 the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, in each case at the
 election and the request of the Debtors with the consent of the Requisite Consenting Support Parties, shall
 have the power to alter and interpret such term or provision to make it valid or enforceable to the maximum
 extent practicable, consistent with the original purpose of the term or provision held to be invalid, void, or
 unenforceable, and such term or provision shall then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
 of the Plan shall remain in full force and effect and shall in no way be affected, impaired or invalidated by
 such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination
 and shall provide that each term and provision of the Plan, as it may have been altered or interpreted in
 accordance with the foregoing, is (a) valid and enforceable pursuant to its terms, (b) integral to the Plan and
 may not be deleted or modified without the consent of the Debtors or the Reorganized Debtors (as the case
 may be), and (c) nonseverable and mutually dependent.




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           12.8.     Governing Law

                   Except if the Bankruptcy Code or other U.S. federal law is applicable, or if an exhibit or
 schedule hereto, or a document in the Plan Supplement or a Definitive Document provides otherwise, the
 rights, duties, and obligations arising under the Plan shall be governed by, and construed and enforced in
 accordance with, the laws of the State of New York, without giving effect to the principles of conflict of
 laws there of; provided that corporate or entity governance matters relating to a Debtor or a Reorganized
 Debtor shall be governed by the laws of the state of incorporation or organization of the Debtors or the
 Reorganized Debtors.

           12.9.     Time

                  In computing any period of time prescribed or allowed by the Plan, unless otherwise set
 forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall apply.

           12.10. Dates of Actions to Implement the Plan

                 If any payment or act under the Plan is required to be made or performed on a date that is
 not a business day, then the making of such payment or the performance of such act may be completed on
 or as soon as reasonably practicable after the next succeeding business day, but shall be deemed to have
 been completed as of the required date.

           12.11. Immediate Binding Effect

                 Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
 occurrence of the Effective Date, the terms of the Plan shall be immediately effective and enforceable and
 deemed binding upon and inure to the benefit of the Debtors, the holders of Claims and Interests, the
 Released Parties, and each of their respective successors and assigns, including, without limitation, the
 Reorganized Debtors.

           12.12. Successors and Assigns

                   The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or permitted
 assign, if any, of such Entity.

           12.13. Entire Agreement

                  Except as provided in the Transaction Support Agreement, on the Effective Date, the Plan,
 the Plan Supplement, and the Confirmation Order shall supersede all previous and contemporaneous
 negotiations, promises, covenants, agreements, understandings, and representations on such subjects, all of
 which have become merged and integrated into the Plan.

           12.14. Exhibits to Plan

                All exhibits, schedules, supplements, and appendices to the Plan (including the Plan
 Supplement) are incorporated into and are a part of the Plan as if set forth in full herein.




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           12.15. Notices

                 To be effective, all notices, requests, and demands to or upon the Debtors, the Creditors’
 Committee, the Ad Hoc Committee, or other notice parties shall be in writing (including by electronic or
 facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly
 given or made when actually delivered or, in the case of notice by facsimile transmission, when received
 and telephonically confirmed, addressed as follows:

                     (a)       if to the Debtors or the Reorganized Debtors:

                               225 Liberty Street, 17th Floor
                               New York, NY 10281
                               Attn: Maria DiLorenzo

                                       -and-

                               Weil, Gotshal & Manges LLP
                               767 Fifth Avenue
                               New York, New York 10153
                               Attn: Ray C. Schrock, P.C. (ray.schrock@weil.com
                                       Ryan Preston Dahl, Esq. (ryan.dahl@weil.com)
                                       Candace M. Arthur, Esq. (candace.arthur@weil.com)
                                       Daniel Gwen, Esq. (daniel.gwen@weil.com)

                                       -and-

                               Hunton Andrews Kurth LLP
                               Riverfront Plaza, East Tower
                               951 East Byrd Street
                               Richmond, Virginia 23219
                               Attn: Tyler P. Brown, Esq. (tpbrown@HuntonAK.com)
                                       Henry P. (Toby) Long, III, Esq. (hlong@HuntonAK.com)
                                       Nathan Kramer, Esq. (nkramer@HuntonAK.com)

                     (b)       if to the Creditors’ Committee:

                               Pachulski Stang Ziehl & Jones LLP
                               780 Third Avenue, 34th Floor
                               New York, New York 10017
                               Attn: Bradford J. Sandler, Esq. (bsandler@pszjlaw.com)
                                      Robert J. Feinstein, Esq. (rfeinstein@pszjlaw.com)
                                      Shirley S. Cho, Esq. (scho@pszjlaw.com)
                                      Debra Grassgreen, Esq. (dgrassgreen@pszjlaw.com)

                               -and-

                               Hirschler Fleischer, P.C.
                               The Edgeworth Building
                               2100 East Cary Street
                               Richmond, Virginia 23223
                               P.O. Box 500


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                               Attn:   Robert S. Westermann (rwestermann@hf-law.com)

                     (c)       If to the Ad Hoc Committee:

                               Milbank LLP
                               55 Hudson Yards
                               New York, New York 10001
                               Attn: Dennis F. Dunne, Esq. (ddunne@milbank.com)
                                      Samuel A. Khalil, Esq. (skhalil@milbank.com)
                                      Matthew L. Brod, Esq. (mbrod@milbank.com)

                               -and-

                               Tavenner & Beran, PLC
                               20 North Eighth Street, 2nd Floor
                               Richmond, Virginia 23219
                               Attn: Lynn L. Tavenner, Esq. (LTavenner@Tb-Lawfirm.com)
                                      Paula S. Beran, Esq. (pberan@Tb-Lawfirm.com)

                  After the occurrence of the Effective Date, the Reorganized Debtors have authority to send
 notice to all parties in interest that to continue to receive documents pursuant to Bankruptcy Rule 2002,
 such parties must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After
 the occurrence of the Effective Date, the Reorganized Debtors are authorized to limit the list of Entities
 receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that have filed such renewed
 requests.




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 Dated: June 24, 2020


                                             Respectfully submitted,

                                              Chinos Holdings, Inc. and Its Debtor Affiliates

                                              By: /s/ Michael Nicholson
                                                  Name: Michael Nicholson
                                                  Title: Authorized Signatory




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